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              EXHIBIT COVER PAGE




                             EXHIBIT NUMBER __C_____
FROM: Schmidt, Madison<mschmidt@gbli.com>
                    Case 1:24-cv-03195-TWT Document 7 Filed 07/22/24 Page 2 of 66
TO: UAIClaims
SENT: Wednesday, June 19, 2024 11:01:18 AM Eastern Daylight Time
SUBJECT: claim #24002421
ATTACHMENTS: image001.png; SKM C450i24061911380.pdf;




Madison Schmidt
Insurance Assosiate- Operations
GBLI Global Indemnity
Three Bala Plaza East, Suite 300
Bala Cynwyd, PA 19004
E: Mschmidt@gbli.com
www.obli.conl




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   CI ORAL INIDR14,1111,
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              GLOBAL INDEMNITY
                                                  GROUP




                                                    CERTIFICATION


This is a true and certified copy of PAV0361274 ALT2ORIV OWNER LLC; DBA
ARCHWAY APARTMENTS




Name:     oreen Marsha


Title: Vice President, Operations

Date: 6/19/24


 State of
 Pennsylvania
 County of
 Montgomery


Sworn and subscribed before me this 19th day of June 2024

  Commonwealth of Pennsylvania - NatalY Seal
    Shirley J. Respes Crews, Notary Pubk
              Montgomery County
    My Commission Expires March 25, 2027
         Commission Number 1261380




     Thrk, Bala              Stith'      li;113     pj,P   \ 191)414 I P: 61(1.6h4.15iiii I I-. ( I(,(,(J.(   I12,101)al-iiitIcninity.com
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                                 GBLI I GLOBAL INDEMNITY

                                      PRIVACY NOTICE


We at GBLI I Global Indemnity, which includes American Reliable insurance Company®, Diamond
State Insurance Company®, Penn -America Insurance Company®, Penn -Patriot Insurance
Company®, Penn -Star Insurance Company®, United National Insurance Company®, and our
affiliated companies and subsidiaries, are required to protect our customers' nonpublic personal
financial information.

We collect your nonpublic personal financial information from the following sources:

    •   Information obtained from you, including information from your application, such as name,
        address, telephone number, social security number, assets and income.

    •   Information about transactions and experiences, such as your premium payment and
        claims history.

    •   Information from a consumer reporting agency, such as your credit history.

WE DO NOT DISCLOSE YOUR NONPUBLIC PERSONAL FINANCIAL INFORMATION, EXCEPT AS
PERMITTED OR REQUIRED BY LAW. WE RESERVE THE RIGHT, HOWEVER, TO CHANGE THIS POLICY AT
ANY TIME. SHOULD THIS POLICY CHANGE, WE WILL GIVE AFFECTED CUSTOMERS AN OPPORTUNITY
TO DIRECT THAT THEIR NONPUBLIC PERSONAL FINANCIAL INFORMATION NOT BE DISCLOSED.

We maintain electronic, physical and procedural safeguards that comply with Federal regulations
to protect your nonpublic personal financial information. We limit access to your nonpublic
personal financial information to those employees who need to know that information to perform
their job responsibilities.

We disclose nonpublic personal financial information of former customers to affiliated and
nonaffiliated third parties as permitted by law




NAA-105 I 05-2022                                                                       Page 1 of 1
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   GLOBAL INDEMNITY




American Reliable Insurance Company'-‘
Diamond State Insurance Company!,
Penn-America Insurance Company"'
Penn-Patriot Insurance Company!'
Penn-Star Insurance Company
United National Insurance Company




                IMPORTANT NOTICE FOR POLICYHOLDERS REGARDING
                          PUBLIC HEALTH EMERGENCY

GBLI I Global Indemnity, which includes our affiliated companies and subsidiaries, understands
the challenges facing our policyholders during a public health emergency.
A public health emergency is any event that represents immediate threat to human life or health
and requires prompt action by way of mitigation measures to protect the health of the public. The
event must require action taken by city, county, state or national officials to shut down businesses
or alter operations.
If an emergency order has been declared, at the request of the Named Insured, GBL1 may take
the following steps to assist policyholders that are active and in good standing, with no
cancellations pending, at the time of the public health emergency:
    •    Minimum Earned Premium Waived: We may waive the minimum earned premium when
         the Named Insured requests cancellation of a policy. In such case, the policy will be
         cancelled on a pro-rata basis and no short rate penalty will be imposed.
    •    Premium Audit Exposures: We may opt not to endorse the increased sales, receipts or
         payroll exposures on the current policy term as a result of a premium audit on the prior
         policy term. Any amounts due from the audit will be paid pursuant to the terms of the
         policy.
    •    Inspections and Recommendation Compliance Extension: We may give you a 30-day
         extension from the original date you were required to comply with critical and non -critical
         recommendations. All other inspection and recommendation compliance requirements
         remain unchanged.
These accommodations are in addition to any required by the Named Insured's jurisdiction. If
there is a conflict between a jurisdictional requirement and an accommodation in this memo, the
one most beneficial to the Named Insured will apply.
If you have been affected by a public health emergency, we urge you to contact your insurance
agent.
The Named Insured must provide its insurance agent with a written request for the assistance
described above, as well as documentation of the mandates impeding the operations of the
business. Any and all accommodations described in this notice are applied at the discretion of
GBLI.




NAA-238 I 05-2022                                                                           Page 1 of 1
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  GBLI
   GLOBAL INDEMNITY




American Reliable Insurance Companya
Diamond State Insurance Companyt.
Penn-America Insurance Companyg'
Penn-Patriot Insurance Companyg'
Penn-Star Insurance Company'&
United National Insurance Company'




                                CLAIMS REPORTING PROCEDURES

Your GBLI p Global Indemnity team is committed to providing a quality claims service. In the event
of a claim or a potential claim, there are three convenient ways to report the claim immediately.

Report a Claim

    • Online:       www.gbli.com
    • Call:         800-788-4780 (available 24/7)
    • Email:        claims@gbli.com


Where to Send Supporting Documentation

    •   Email: claimstogbli.com
    •   Fax:        610-660-8885
    •   Mail:       GBLI / Claims
                    P.O. Box 532
                    Willow Grove, PA 19090




NAA-169 1 05-2022                                                                        Page 1 of 1
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  * **                   COMMERCIAL LINES COMMON POLICY DECLARATIONS
*nn A                       INSURANCE IS PROVIDED BY THE COMPANY DESIGNATED BY AN "X":                      Stock
     Uurt *                        X PENN -AMERICA INSURANCE COMPANY                                        Company
 *      Group *
       * * *                              PENN -STAR INSURANCE COMPANY
       PAV0285956
                                           PENN PATRIOT INSURANCE COMPANY
     Renewal of Number                                                                  State Control Number
                                               Bala Cynwyd, Pennsylvania 19004          #634281
 Rewrite of Number
POLICY NUMBER: PAV0361274
1.      NAMED INSURED:       ATL20RIV OWNER LLC
        DBA:
                            ARCHWAY APARTMENTS
        MAILING ADDRESS: cio Amity Companies, 15 E Putnam Ave, #374

                            Greenwich, CT 06830
2.      POLICY PERIOD:         From       October 29, 2022      October 29, 2023            at 12:01 A.M.
                                                             To
          Standard Time at your mailing address shown above.
3.      FORM OF BUSINESS: Limited Liability Company OTHER DESC:
4.       BUSINESS DESCRIPTION: APARTMENT BUILDINGS
IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY WE
 AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.


5.       THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS INDICATED.
         THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.      PREMIUM
            Commercial General Liability Coverage Part                     9,421.00
            Commercial Property Coverage Part                         NOT COVERED
            Commercial Crime Coverage Part                            NOT COVERED
            Commercial Inland Marine Coverage Part                    NOT COVERED
            Professional Liability Coverage Part                      NOT COVERED
            Liquor Liability Coverage Part                            NOT COVERED
            Commercial Umbrella Coverage Part                         NOT COVERED
            Owners Contractors Protective Coverage Part               NOT COVERED
            TRIA                                                              471.00
            TOTAL PREMIUM PAYABLE AT INCEPTION                              9,892.00
 6.
             Policy Fee                                                      200.00
             Surplus Lines Tax                                               403.68




            Other:
         TOTAL                                                                 10,495.68

7. FORM(S) AND ENDORSEMENT(S) MADE A PART OF THIS POLICY AT THE TIME OF ISSUE:*
          AS PER FORM S1007 (12/2000) SCHEDULE OF FORMS AND ENDORSEMENTS ATTACHED
    *Omits applicable Forms and Endorsements if shown in specific Coverage Part/Coverage Form Declarations.
THESE DECLARATIONS TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART
DECLARATIONS, COVERAGE PART COVERAGE FORM(S) AND FORMS AND ENDORSEMENTS, IF ANY, ISSUED
TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.
                 02424
Agency Code:
                 All Risks - Richmond, VA
                 300 Arboretum Place                             By
                 Richmond, VA 23236                                           Authorized Representative
                 SOL              11/05/2022

S1100(09/2016)                                                                                         Page 1 of 1
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                       COMMERCIAL LINES COMMON POLICY DECLARATIONS
                          SCHEDULE OF FORMS AND ENDORSEMENTS


POLICY NUMBER:                       NAMED INSURED:
PAV0361274                           ATL2ORIV Owner LLC DBA Archway Apartments



Form / Endorsement No. / Edition Date

COMMON POLICY

NAA105       [05-22]                     GLOBAL INDEMNITY PRIVACY NOTICE
NAA238       [05-22]                     IMPORTANT NOTICE FOR POLICYHOLDERS REGARDING
                                         PUBLIC HEALTH EMERGENCY
NAA169       [05-22]                     CLAIMS REPORTING PROCEDURES
S1100        [09-16]                     PENN -AMERICA COMMON POLICY DECLARATIONS
IL0017       [11-98)                     COMMON POLICY CONDITIONS
IL0021       [09-08]                     NUCLEAR ENERGY LIABILITY EXCLUSION
                                         ENDORSEMENT
IL0262       [02-15]                     GA CHANGES - CANCELLATION AND NONRENEWAL
EAA230       [02-15]                     SERVICE OF SUIT
EAA100       [01-12]                     IN WITNESS CLAUSE
EAA146       [12-09]                     TERRORISM EXCLUSION
EAA156       [04-15]                     COVERAGE FOR "ACTS OF TERRORISM" AS DEFINED
                                         IN THE TRIA
S1003        [08-91]                     MINIMUM EARNED PREMIUM
S2002        [08-02]                     COMBINED PROVISIONS ENDORSEMENT
S2033        [03-14]                     LEAD CONTAMINATION EXCLUSION
IL0003       [09-08]                     CALCULATION OF PREMIUM
IL0985       [12-20]                     DISCLOSURE PURSUANT TO TERRORISM RISK
                                         INSURANCE ACT

COMMERCIAL GENERAL LIABILITY

S2000        [06-01]                     GL COVERAGE PART DECLARATIONS
CG0001       [04-13]                     CGL COVERAGE FORM
CG2011       [12-19]                     Al - MANAGERS OR LESSORS OF PREMISES
CG2018       [12-19]                     Al - MORTGAGEE, ASSIGNEE OR RECEIVER
CG2107       [05-14]                     EXCLUSION - ACCESS OR DISCLOSURE OF
                                         CONFIDENTIAL OR PERSONAL INFORMATION AND
                                         DATA -RELATED LIABILITY - LIMITED BODILY
                                         INJURY EXCEPTION NOT INCLUDED
CG2109       [06-15]                     EXCLUSION - UNMANNED AIRCRAFT
CG2144       [04-17]                     LIMITATION OF COVERAGE TO DESIGNATED
                                         PREMISES OR PROJECT
CG2147       [12-07]                     EMPLOYMENT RELATED PRACTICES EXCL
CG2155       [09-99]                     TOTAL POLLUTION EXCLUSION WITH A HOSTILE
                                         FIRE EXCEPTION
CG2132       [05-09]                     COMMUNICABLE DISEASE EXCLUSION
CG2167       [12-04]                     FUNGI OR BACTERIA EXCLUSION
CG2170       [01-15]                     CAP ON LOSSES FROM CERTIFIED ACTS OF
                                         TERRORISM
CG2196       [03-05]                     SILICA OR SILICA-RELATED DUST EXCLUSION
CG2426       [04-13]                     AMENDMENT OF INSURED CONTRACT DEFINITION
EPA1631      [01-18]                     TOTAL EXCLUSION - PROFESSIONAL SERVICES
EPA1704      112-17]                     SWIMMING POOL CONDITIONAL EXCLUSION
EPA1691      [09-12]                     ANTI -STACKING ENDORSEMENT
EPA1833      [01-18]                     NONCOOPERATION WITH AUDIT




S1007 (12-2000)                                                                  Page 1 of   2
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                       COMMERCIAL LINES COMMON POLICY DECLARATIONS
                          SCHEDULE OF FORMS AND ENDORSEMENTS


POLICY NUMBER:                      NAMED INSURED:
PAV0361274                          ATL2ORIV Owner LLC DBA Archway Apartments



Form / Endorsement No. / Edition Date
EPA2016      (03-22)                    EXCLUSION - CYBER AND DATA LIABILITY
EPA1982      (10-20)                    EXCLUSION - FIREWORKS, EXPLOSIVES,
                                        PYROTECHNIC DEVICES OR INCENDIARY DEVICES
EPA1941      [03-19)                    AMUSEMENTS OR ACTIVITIES EXCLUSION
CG4014       [12-19]                    CANNABIS EXCLUSION




S1007 (12-2000)                                                                 Page 2   of   2
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                                                                                                    IL 00 17 11 98


                           COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                     b. Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                     and
      tions may cancel this policy by mailing or de-                c. Recommend changes.
      livering to us advance written notice of cancel-          2. We are not obligated to make any inspections,
      lation.                                                       surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                such actions we do undertake relate only to in-
      ering to the first Named Insured written notice               surability and the premiums to be charged. We
      of cancellation at least:                                     do not make safety inspections. We do not un-
      a. 10 days before the effective date of cancel-               dertake to perform the duty of any person or
          lation if we cancel for nonpayment of pre-                organization to provide for the health or safety
          mium; or                                                  of workers or the public. And we do not warrant
                                                                    that conditions:
      b. 30 days before the effective date of cancel-
          lation if we cancel for any other reason.                 a. Are safe or healthful; or
   3. We will mail or deliver our notice to the first               b. Comply with laws, regulations, codes or
      Named Insured's last mailing address known to                     standards.
       US.                                                      3. Paragraphs 1. and 2. of this condition apply
   4. Notice of cancellation will state the effective               not only to us, but also to any rating, advisory,
       date of cancellation. The policy period will end             rate service or similar organization which
       on that date.                                                makes insurance inspections, surveys, reports
                                                                    or recommendations.
   5. If this policy is cancelled, we will send the first
       Named Insured any premium refund due. If we              4. Paragraph 2. of this condition does not apply
       cancel, the refund will be pro rata. If the first            to any inspections, surveys, reports or recom-
       Named Insured cancels, the refund may be                     mendations we may make relative to certifica-
       less than pro rata. The cancellation will be ef-             tion, under state or municipal statutes, ordi-
       fective even if we have not made or offered a                nances or regulations, of boilers, pressure ves-
       refund.                                                      sels or elevators.
   6. If notice is mailed, proof of mailing will be suf-     E. Premiums
       ficient proof of notice.                                 The first Named Insured shown in the Declara-
B. Changes                                                      tions:
   This policy contains all the agreements between              1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded.                    and
   The first Named Insured shown in the Declara-                2. Will be the payee for any return premiums we
   tions is authorized to make changes in the terms                 pay.
   of this policy with our consent. This policy's terms      F. Transfer Of Your Rights And Duties Under
   can be amended or waived only by endorsement                 This Policy
   issued by us and made a part of this policy.
                                                                Your rights and duties under this policy may not
C. Examination Of Your Books And Records                        be transferred without our written consent except
   We may examine and audit your books and rec-                 in the case of death of an individual named in-
   ords as they relate to this policy at any time during        sured.
   the policy period and up to three years afterward.           If you die, your rights and duties will be trans-
D. Inspections And Surveys                                      ferred to your legal representative but only while
   1. We have the right to:                                     acting within the scope of duties as your legal rep-
                                                                resentative. Until your legal representative is ap-
       a. Make inspections and surveys at any time;             pointed, anyone having proper temporary custody
                                                                of your property will have your rights and duties
                                                                but only with respect to that property.




IL 00 17 11 98                   Copyright, Insurance Services Office, Inc., 1998                       Page 1 of 1     El
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                                                                                                     IL 00 21 09 08

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                     (Broad Form)

This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

1. The insurance does not apply:                                C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"              or "property damage" resulting from "hazard-
        or "property damage":                                       ous properties" of "nuclear material", if:
      (1) With respect to which an "insured" under                 (1) The "nuclear material" (a) is at any "nuclear
            the policy is also an insured under a nuc-                 facility" owned by, or operated by or on be-
            lear energy liability policy issued by Nuclear             half of, an "insured" or (b) has been dis-
            Energy Liability Insurance Association, Mu-                charged or dispersed therefrom;
            tual Atomic Energy Liability Underwriters,             (2) The "nuclear material" is contained in
            Nuclear Insurance Association of Canada                    "spent fuel" or "waste" at any time pos-
            or any of their successors, or would be an                 sessed, handled, used, processed, stored,
            insured under any such policy but for its                  transported or disposed of, by or on behalf
            termination upon exhaustion of its limit of                of an "insured"; or
            liability; or
                                                                   (3) The "bodily injury" or "property damage"
      (2) Resulting from the "hazardous properties"                    arises out of the furnishing by an "insured"
            of "nuclear material" and with respect to                  of services, materials, parts or equipment in
            which (a) any person or organization is re-                connection with the planning, construction,
            quired to maintain financial protection pur-               maintenance, operation or use of any "nuc-
            suant to the Atomic Energy Act of 1954, or                 lear facility", but if such facility is located
            any law amendatory thereof, or (b) the "in-                within the United States of America, its terri-
            sured" is, or had this policy not been issued              tories or possessions or Canada, this ex-
            would be, entitled to indemnity from the                   clusion (3) applies only to "property dam-
            United States of America, or any agency                    age" to such "nuclear facility" and any
            thereof, under any agreement entered into                  property thereat.
            by the United States of America, or any          2. As used in this endorsement:
            agency thereof, with any person or organi-
            zation.                                             "Hazardous properties" includes radioactive, toxic
                                                                or explosive properties.
   B. Under any Medical Payments coverage, to
       expenses incurred with respect to "bodily in-            "Nuclear material" means "source material", "spe-
       jury" resulting from the "hazardous properties"          cial nuclear material" or "by-product material".
       of "nuclear material" and arising out of the op-
       eration of a "nuclear facility" by any person or
       organization.




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   "Source material", "special nuclear material", and               (c) Any equipment or device used for the
   "by-product material" have the meanings given                        processing, fabricating or alloying of "spe-
   them in the Atomic Energy Act of 1954 or in any                      cial nuclear material" if at any time the total
   law amendatory thereof.                                              amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                     the "insured" at the premises where such
   ponent, solid or liquid, which has been used or ex-                  equipment or device is located consists of
   posed to radiation in a "nuclear reactor".                           or contains more than 25 grams of pluto-
                                                                        nium or uranium 233 or any combination
   'Waste" means any waste material (a) containing                      thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                     235;
   wastes produced by the extraction or concentra-
   tion of uranium or thorium from any ore processed               (d) Any structure, basin, excavation, premises
   primarily for its "source material" content, and (b)                 or place prepared or used for the storage or
   resulting from the operation by any person or or-                    disposal of "waste";
   ganization of any "nuclear facility" included under          and includes the site on which any of the foregoing
   the first two paragraphs of the definition of "nuc-          is located, all operations conducted on such site
   lear facility".                                              and all premises used for such operations.
   "Nuclear facility" means:                                    "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                                or used to sustain nuclear fission in a self-
                                                                supporting chain reaction or to contain a critical
      (b) Any equipment or device designed or used              mass of fissionable material.
           for (1) separating the isotopes of uranium or
           plutonium, (2) processing or utilizing "spent        "Property damage" includes all forms of radioac-
           fuel", or (3) handling, processing or packag-        tive contamination of property.
           ing "waste";




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                                                                                                        IL 02 62 02 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   GEORGIA CHANGES - CANCELLATION
                          AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. Paragraph A.1. of the Cancellation Common                             Our notice will state the effective date of
   Policy Condition is replaced by the following:                        cancellation, which will be the later of the
   1. The first Named Insured shown in the                               following:
      Declarations may cancel this policy by mailing                    (1) 10 days from the date of mailing or
      or delivering to us advance written notice of                           delivering our notice; or
      cancellation stating a future date on which the                   (2) The effective date of cancellation stated
      policy is to be cancelled, subject to the                               in the first Named Insured's notice to us.
      following:
                                                              B. Paragraph A.5. of the Cancellation Common
      a. If only the interest of the first Named                 Policy Condition is replaced by the following:
           Insured is affected, the effective date of
          cancellation will be either the date we                5. Premium Refund
           receive notice from the first Named Insured               a. If this policy is cancelled, we will send the
          or the date specified in the notice,                           first Named Insured any premium refund
          whichever is later. However, upon receiving                    due.
          a written notice of cancellation from the first           b. If we cancel, the refund will be pro rata,
           Named Insured, we may waive the
                                                                         except as provided in c. below.
           requirement that the notice state the future
          date of cancellation, by confirming the date               c. If the cancellation results from failure of the
          and time of cancellation in writing to the first               first Named Insured to pay, when due, any
           Named Insured.                                                premium to us or any amount, when due,
                                                                         under a premium finance agreement, then
      b. If by statute, regulation or contract this
                                                                         the refund may be less than pro rata.
          policy may not be cancelled unless notice is                   Calculation of the return premium at less
          given     to    a    governmental      agency,                 than pro rata represents a penalty charged
          mortgagee or other third party, we will mail                   on unearned premium.
          or deliver at least 10 days' notice to the first
           Named Insured and the third party as soon                d. If the first Named Insured cancels, the
          as practicable after receiving the first                       refund may be less than pro rata.
           Named Insured's request for cancellation.                e. The cancellation will be effective even if we
                                                                         have not made or offered a refund.




IL 02 62 02 15                          CDInsurance Services Office, Inc., 2014                           Page 1 of 2
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C. The following is added to the Cancellation                    2. When this policy has been in effect for more
   Common Policy Condition and supersedes any                        than 60 days, or at any time if it is a renewal
   other provisions to the contrary:                                 with us, we may cancel for one or more of the
   If we decide to:                                                  following reasons:
    1. Cancel or nonrenew this policy; or                            a. Nonpayment of premium, whether payable
                                                                          to us or to our agent;
   2. Increase current policy premium by more than
        15% (other than any increase due to change in                b. Upon discovery of fraud, concealment of a
        risk, exposure or experience modification or                      material fact, or material misrepresentation
        resulting from an audit of auditable coverages);                  made by or with the knowledge of any
        or                                                                person insured under this policy in
                                                                          obtaining this policy, continuing this policy
   3. Change any policy provision which would limit                       or presenting a claim under this policy;
        or restrict coverage;
                                                                     c. Upon the occurrence of a change in the risk
   then:                                                                  which substantially increases any hazard
   We will mail or deliver notice of our action                           insured against; or
   (including the dollar amount of any increase in                   d. Upon the violation of any of the material
   renewal premium of more than 15%) to the first                         terms or conditions of this policy by any
   Named Insured and lienholder, if any, at the last                      person insured under this policy.
   mailing address known to us. Except as applicable
   as described in Paragraph D. or E. below, we will                 We may cancel by providing notice to the first
   mail or deliver notice at least:                                  Named Insured at least:
        a. 10 days before the effective date of                          (1) 10 days before the effective date of
            cancellation if this policy has been in effect                    cancellation     if    we      cancel for
            less than 60 days or if we cancel for                             nonpayment of premium; or
            nonpayment of premium; or                                    (2) 45 days before the effective date of
        b. 45 days before the effective date of                               cancellation if we cancel for any of the
            cancellation if this policy has been in effect                    reasons listed in b., c. or d. above.
            60 or more days and we cancel for a               E. With respect to a policy that is written to permit an
            reason other than nonpayment of premium;             audit, the following is added to the Cancellation
            or                                                   Common Policy Condition:
        C. 45 days before the expiration date of this            If you fail to submit to or allow an audit for the
            policy if we decide to nonrenew, increase            current or most recently expired term, we may
            the premium or limit or restrict coverage.           cancel this policy subject to the following:
D. The following provisions apply to insurance                   1. We will make two documented efforts to send
   covering residential real property only provided                  you and your agent notification of potential
   under the:                                                        cancellation. After the second notice has been
   Capital Assets Program (Output Policy) Coverage                   sent, we have the right to cancel this policy by
   Part;                                                             mailing or delivering a written notice of
                                                                     cancellation to the first Named Insured at least
   Commercial Property Coverage Part;                                10 days before the effective date of
   Farm Coverage Part;                                               cancellation, but not within 20 days of the first
   if the named insured is a natural person.                         documented effort.
   With respect to such insurance, the following is              2. If we cancel this policy based on your failure to
   added to the Cancellation Common Policy                           submit to or allow an audit, we will send the
   Condition and supersedes any provisions to the                    written notice of cancellation to the first Named
   contrary except as applicable as described in                     Insured at the last known mailing address by
   Paragraph E.:                                                     certified mail or statutory overnight delivery
                                                                     with return receipt requested.
   1. When this policy has been in effect for 60 days
        or less and is not a renewal with us, we may
        cancel for any reason by notifying the first
        Named Insured at least 10 days before the
        date cancellation takes effect.




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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   SERVICE OF SUIT CLAUSE
This endorsement modifies insurance provided under the following:

     ALL COVERAGE PARTS IN THIS POLICY

We appoint the highest State official in charge of insurance affairs (Commissioner of Insurance, Director of
Insurance, Insurance Commissioner, Executive Secretary, Superintendent of Insurance, or such other official
title as designated by the State) of the State of         Georgia            and his successor or successors in
office as his and their duly authorized deputies, as our true and lawful attorney in and for the aforesaid State,
upon whom all lawful process may be served in any action, suit or proceeding instituted in the said State by or
on behalf of any insured or beneficiary against us, arising out of this insurance policy, provided a copy of any
process, suit complaint or summons is sent by certified or registered mail to:




  Stephen Ries, Esquire
  Penn America Insurance Company
  Three Bala Plaza East
  Suite 300
  Bala Cynwyd, PA 19004




   EAA-230 (02/2015)                                                                            Page 1 of 1
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                                  In Witness Clause

In Witness Whereof, we have caused this policy to be executed and attested, and, if
required by state law, this policy shall not be valid unless countersigned by our
authorized representative.




             Secretary                                Executive Vice President




EAA-100 (01/2012)                                                    Page 1 of 1
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  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                TERRORISM EXCLUSION

This endorsement modifies insurance provided under the following:

    ALL PARTS OF THE POLICY

Notwithstanding any other provision of this policy to the contrary, this insurance does
not apply to any loss, cost, expense, damage, injury or economic detriment, whether
arising by contract, operation of law or otherwise whether or not concurrent or in any
sequence with any other cause or event, that in any way, form or manner, directly or
indirectly, arises out of, results from or is caused by "terrorism", and also including any
action taken in hindering or defending against "terrorism".

"Terrorism" means any act of force or violence or other illegal means, whether actual,
alleged or threatened, by any person, persons, group, private or governmental entity or
entities, or any other type of organization of any nature whatsoever, whether the identity
of which is known or unknown, that appears lobe for political, religious, racial, ethnic,
ideological, ecological or social purposes, objectives or motives and that causes or
appears to be intended to cause:

   1.   alarm, fright, fear of danger, concern or apprehension for public safety;

   2.   the interference or disruption of an electronic, communication, information or
        mechanical system;

   3.   the intimidation or coercion of the civilian population, or any governmental body;
        or

   4.   the alteration of the policies, foreign or domestic of any governmental body,


This exclusion does not affect the applicability of, and is in addition to, any exclusion of
war, warlike or military action, whether or not specifically denominated as such.




EAA-146 (12/2009)                                                         Page 1 of 1
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  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              COVERAGE FOR "ACTS OF TERRORISM" AS DEFINED IN THE
                        TERRORISM RISK INSURANCE ACT

In consideration of an additional premium having been timely paid, the terrorism
exclusion on your policy is amended to the extent that any "act of terrorism" as defined
in the federal Terrorism Risk Insurance Act, as amended, (the Act) is no longer
excluded from coverage.

    A.   Under the Act, an "act of terrorism" means any act that is certified by the
         Secretary of the Treasury, in accordance with the provisions of the federal
         Terrorism Risk Insurance Act to:

         1.    Be an act of terrorism;

         2.    Be a violent act or an act that is dangerous to:

               a.   Human life;

               b.   Property; or

               c.   Infrastructure;

         3.    Have resulted in damage within the United States or outside of the United
               States in the case of:

               a.   An air carrier (as defined in 49 U.S.C. § 40102) or vessel based
                    principally in the United States, on which income tax is paid and whose
                    insurance coverage is subject to regulation in the United States; or

               b.   The premises of a United States mission; and

         4.    Have been committed by an individual or individuals as part of an effort to
               coerce the civilian population of the United States or to influence the policy
               or affect the conduct of the United States Government by coercion.

    B.   Under the Act, no act will be certified by the Secretary of the Treasury as an "act
         of terrorism" and this insurance does not apply if:

         1.    The act is committed as part of the course of a war declared by the
               Congress; or

         2.    Losses attributable to all types of insurance subject to the Act, in the
               aggregate, do not exceed $5,000,000.



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    C. If aggregate insured losses attributable to an "act of terrorism" exceed $100
       billion in a calendar year and we have met our insurer deductible under the
       Terrorism Risk Insurance Act, we will not be liable for the payment of any
       portion of the amount of such losses that exceeds $100 billion, and in such case
       insured losses up to that amount are subject to pro rata allocation in accordance
       with procedures established by the Secretary of the Treasury.

    D. Under the Act, any certification of, or determination not to certify by the
       Secretary of the Treasury, an act as an "act of terrorism" will be final, and will
       not be subject to judicial review.

    E.   Under the Act, punitive damages are not covered and therefore, such damages
         are likewise not covered by this policy.

    F.   If this endorsement is attached to an excess or umbrella policy, coverage under
         this policy for any "act of terrorism" only will apply:

         1. When all "underlying insurance" for "acts of terrorism" is exhausted; or

         2. If you do not purchase "underlying insurance" for "acts of terrorism", only to
            the extent we would have been liable had you purchased such coverage for
            the full limits of "underlying insurance". We will not drop down if you do not
            purchase "underlying insurance" for "acts of terrorism".




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                                                                                                                                                   Stock
                                                                                                                                                  Company



       *OA*
                                         COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                                             DECLARATIONS
               *    Group *
                   *    *

      POLICY NUMBER:                   PAV0361274

      1.           NAMED INSURED:            ATL2ORIV OWNER LLC
                                             ARCHWAY APARTMENTS
      2.           LIMITS OF INSURANCE - INSURANCE APPLIES ONLY FOR COVERAGE FOR WHICH A LIMIT OF
                                          INSURANCE IS SHOWN.

                   General Aggregate Limit (Other than Products/Completed Operations)                             $       2,000,000
                   Products/Completed Operations Aggregate Limit +                                                $         Included
                   Each Occurrence Limit                                                                          $       1.000,000
                   Personal & Advertising Injury Limit                                                            $       1,000,000
                   Damage to Premises Rented to You Limit                                                         $         100.000 any one premises
                   Medical Expense Limit                                                                          $              5,000 any one person
      3.           LOCATIONS of all premises you Own, Rent, or Occupy
                                 Address                                                        city                     State       Zip
No.        1              1   685 Rountree Rd                                                    Riverdale               GA          30274


                                                 PREMIUM BASIS                               RATES                                ADVANCE PREMIUM

                    CLASS **                 Code I Exposure                     Prod/CO               All Other              Prod/C0            All Other
      4,
                    ** If Classifications are Numbered, the coverage applies to the corresponding Location No.
                                                                                                                               Included           7,418.00
No. 1          Bldg 1 60010                               106                         Ind                69.982

               Apartment Buildings

               +PRODUCTS-COMPLETED OPERATIONS ARE SUBJECT TO THE GENERAL AGGREGATE LIMIT
No.    1 Bldg 1 48925                        e)             1                         Ind               953.772                Included            954.00

               Swimming Pools


No.    1 Bldg 1 46671                        e)             2                         Ind               499.576                Included            999.00

               Parks or Playgrounds

                4-PRODUCTS-COMPLETED OPERATIONS ARE SUBJECT TO THE GENERAL AGGREGATE LIMIT
No. 1          Bldg 1            e)       1              Inc1          Flat        Included                                                        50.00

               Additional Insured - Fully Earned (CG2011 Managers or Lessors of Premises)

No. 1 Bldg 1                                 e)             1                         Incl                 Inc'                Included           Included

               Additional Insured - CG2018


       If Classifications are Numbered, the coverage applies to the corresponding Location No.
                                                                                             TOTAL: $         9,421.00
                   (s) gross sales - per $1000              (c)   total cost. per $1000                (m) admissions- per 1000     (e) each
                   (p) payroll - per $1000                  (a) area - per 1000 sq. ft.                (u) units                    (o) other

      5.           Policy may be AUDITABLE                  (I) see classification notes in company or ISO Commercial Lines Manual

      6.           SPECIFIC GENERAL LIABILITY FORMS/ENDORSEMENTS
                   As per S1007 [12-00]
      This page alone does not provide coverage and must be attached to a Commercial Lines Common Policy Declarations
      Common Policy Conditions, Coverage Part Coverage Form(s) and any other applicable forms and endorsements.
      S2000 (06/01)                                                                                                                              Page 1 of 1
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                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                             CG 00 01 04 13

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.                (2) The "bodily injury" or "property damage"
Read the entire policy carefully to determine rights,                    occurs during the policy period; and
duties and what is and is not covered.
                                                                    (3) Prior to the policy period, no insured listed
Throughout this policy the words "you" and "your"                        under Paragraph 1. of Section II — Who Is
refer to the Named Insured shown in the Declarations,                    An Insured and no "employee" authorized
and any other person or organization qualifying as a                     by you to give or receive notice of an
Named Insured under this policy. The words "we",                         "occurrence" or claim, knew that the "bodily
"us" and "our" refer to the company providing this                       injury" or "property damage" had occurred,
insurance.                                                               in whole or in part. If such a listed insured
The word "insured" means any person or organization                      or authorized "employee" knew, prior to the
qualifying as such under Section II — Who is An                          policy period, that the "bodily injury" or
Insured.                                                                 "property damage" occurred, then any
                                                                         continuation, change or resumption of such
Other words and phrases that appear in quotation                         "bodily injury" or "property damage" during
marks have special meaning. Refer to Section V —                         or after the policy period will be deemed to
Definitions.                                                             have been known prior to the policy period.
SECTION I — COVERAGES                                            c. "Bodily injury" or "property damage" which
COVERAGE A — BODILY INJURY AND PROPERTY                              occurs during the policy period and was not,
DAMAGE LIABILITY                                                     prior to the policy period, known to have
 1. Insuring Agreement                                               occurred by any insured listed under
                                                                     Paragraph 1. of Section II — Who Is An Insured
    a. We will pay those sums that the insured                       or any "employee" authorized by you to give or
        becomes legally obligated to pay as damages                  receive notice of an "occurrence" or claim,
        because of "bodily injury" or "property damage"              includes any continuation,           change or
        to which this insurance applies. We will have                resumption of that "bodily injury" or "property
        the right and duty to defend the insured against             damage" after the end of the policy period.
        any "suit" seeking those damages. However,
        we will have no duty to defend the insured               d. "Bodily injury" or "property damage" will be
        against any "suit" seeking damages for "bodily               deemed to have been known to have occurred
                                                                     at the earliest time when any insured listed
        injury" or "property damage" to which this
                                                                     under Paragraph 1. of Section II — Who Is An
        insurance does not apply. We may, at our
                                                                     Insured or any "employee" authorized by you to
        discretion, investigate any "occurrence" and
                                                                     give or receive notice of an "occurrence" or
        settle any claim or "suit" that may result. But:
                                                                     claim:
       (1) The amount we will pay for damages is                   (1) Reports all, or any part, of the "bodily injury"
            limited as described in Section III      Limits
                                                                         or "property damage" to us or any other
            Of Insurance; and
                                                                         insurer;
       (2) Our right and duty to defend ends when we
                                                                   (2) Receives a written or verbal demand or
            have used up the applicable limit of
                                                                         claim for damages because of the "bodily
            insurance in the payment of judgments or
            settlements under Coverages A or B or                        injury" or "property damage"; or
            medical expenses under Coverage C.                     (3) Becomes aware by any other means that
                                                                         "bodily injury" or "property damage" has
        No other obligation or liability to pay sums or
                                                                         occurred or has begun to occur.
        perform acts or services is covered unless
        explicitly provided for under Supplementary              e. Damages because of "bodily injury" include
        Payments — Coverages A and B.                                damages claimed by any person or
                                                                     organization for care, loss of services or death
    b. This insurance applies to "bodily injury" and
        "property damage" only if:                                   resulting at any time from the "bodily injury".
       (1) The "bodily injury" or "property damage" is
            caused by an "occurrence" that takes place
            in the "coverage territory";




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2. Exclusions                                                       This exclusion applies even if the claims
   This insurance does not apply to:                                against any insured allege negligence or other
                                                                    wrongdoing in:
   a. Expected Or Intended injury
                                                                        (a) The supervision, hiring, employment,
       "Bodily injury" or "property damage" expected                        training or monitoring of others by that
       or intended from the standpoint of the insured.                       insured; or
       This exclusion does not apply to "bodily injury"
       resulting from the use of reasonable force to                   (b) Providing       or    failing   to    provide
       protect persons or property.                                         transportation with respect to any
                                                                             person that may be under the influence
   b. Contractual Liability                                                 of alcohol;
       "Bodily injury" or "property damage" for which               if the "occurrence" which caused the "bodily
       the insured is obligated to pay damages by                   injury" or "property damage", involved that
       reason of the assumption of liability in a                   which is described in Paragraph (1), (2) or (3)
       contract or agreement. This exclusion does not               above.
       apply to liability for damages:
                                                                    However, this exclusion applies only if you are
      (1) That the insured would have in the absence                in the business of manufacturing, distributing,
           of the contract or agreement; or                         selling, serving or furnishing alcoholic
      (2) Assumed in a contract or agreement that is                beverages. For the purposes of this exclusion,
           an "insured contract", provided the "bodily              permitting a person to bring alcoholic
           injury" or "property damage" occurs                      beverages on your premises, for consumption
           subsequent to the execution of the contract              on your premises, whether or not a fee is
           or agreement. Solely for the purposes of                 charged or a license is required for such
           liability assumed in an "insured contract",              activity, is not by itself considered the business
           reasonable attorneys' fees and necessary                 of selling, serving or furnishing alcoholic
           litigation expenses incurred by or for a party           beverages,
           other than an insured are deemed to be               d. Workers' Compensation And Similar Laws
           damages because of "bodily injury" or
           "property damage", provided:                             Any obligation of the insured under a workers'
                                                                    compensation,          disability    benefits     or
          (a) Liability to such party for, or for the cost          unemployment compensation law or any
                of, that party's defense has also been              similar law.
                assumed in the same "insured contract";
                and                                             e. Employer's Liability
          (b) Such attorneys' fees and litigation                   "Bodily injury" to:
                expenses are for defense of that party             (1) An "employee" of the insured arising out of
                against a civil or alternative dispute                   and in the course of:
                resolution proceeding in which damages                  (a) Employment by the insured; or
                to which this insurance applies are
                alleged.                                               (b) Performing duties related to the conduct
                                                                            of the insured's business; or
   c. Liquor Liability
                                                                   (2) The spouse, child, parent, brother or sister
       "Bodily injury" or "property damage" for which                    of that "employee" as a consequence of
       any insured may be held liable by reason of:                      Paragraph (1) above.
      (1) Causing or contributing to the intoxication of            This exclusion applies whether the insured
           any person;                                              may be liable as an employer or in any other
      (2) The furnishing of alcoholic beverages to a                capacity and to any obligation to share
           person under the legal drinking age or                   damages with or repay someone else who
           under the influence of alcohol; or                       must pay damages because of the injury.
      (3) Any statute, ordinance or regulation relating             This exclusion does not apply to liability
           to the sale, gift, distribution or use of                assumed by the insured under an "insured
           alcoholic beverages.                                     contract"




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   f. Pollution                                                       (d) At or from any premises, site or location
      (1) "Bodily injury" or "property damage" arising                     on which any insured or any contractors
          out of the actual, alleged or threatened                         or subcontractors working directly or
          discharge, dispersal, seepage, migration,                        indirectly on any insured's behalf are
          release or escape of "pollutants":                               performing operations if the "pollutants"
                                                                           are brought on or to the premises, site
         (a) At or from any premises, site or location                     or location in connection with such
              which is or was at any time owned or                         operations by such insured, contractor
              occupied by, or rented or loaned to, any                     or     subcontractor.      However,     this
              insured. However, this subparagraph                          subparagraph does not apply to:
              does not apply to:
              (4 "Bodily injury" if sustained within a
                                                                           (I) "Bodily injury" or "property damage"
                                                                               arising out of the escape of fuels,
                  building and caused by smoke,                                lubricants or other operating fluids
                  fumes, vapor or soot produced by or                          which are needed to perform the
                  originating from equipment that is                           normal electrical,       hydraulic or
                  used to heat, cool or dehumidify the                         mechanical functions necessary for
                  building, or equipment that is used to                       the operation of "mobile equipment"
                  heat water for personal use, by the                          or its parts, if such fuels, lubricants
                  building's occupants or their guests;                        or other operating fluids escape from
             (ii) "Bodily injury" or "property damage"                         a vehicle part designed to hold, store
                  for which you may be held liable, if                         or receive them. This exception does
                  you are a contractor and the owner                           not apply if the "bodily injury" or
                  or lessee of such premises, site or                          "property damage" arises out of the
                  location has been added to your                              intentional discharge, dispersal or
                  policy as an additional insured with                         release of the fuels, lubricants or
                  respect to your ongoing operations                           other operating fluids, or if such
                  performed for that additional insured                        fuels, lubricants or other operating
                  at that premises, site or location and                       fluids are brought on or to the
                  such premises, site or location is not                       premises, site or location with the
                  and never was owned or occupied                              intent that they be discharged,
                  by, or rented or loaned to, any                              dispersed or released as part of the
                  insured, other than that additional                          operations being performed by such
                  insured; or                                                  insured, contractor or subcontractor;
            (iii) "Bodily injury" or "property damage"                    (ii) "Bodily injury" or "property damage"
                  arising out of heat, smoke or fumes                          sustained within a building and
                  from a "hostile fire";                                       caused by the release of gases,
         (b) At or from any premises, site or location                         fumes or vapors from materials
                                                                               brought into that building in
              which is or was at any time used by or
                                                                               connection with operations being
              for any insured or others for the
                                                                               performed by you or on your behalf
              handling, storage, disposal, processing
                                                                               by a contractor or subcontractor; or
              or treatment of waste;
                                                                         (iii) "Bodily injury" or "property damage"
         (c) Which are or were at any time
                                                                               arising out of heat, smoke or fumes
              transported, handled, stored, treated,
                                                                               from a "hostile fire".
              disposed of, or processed as waste by
              or for:                                                 (e) At or from any premises, site or location
                                                                           on which any insured or any contractors
              (i) Any insured; or
                                                                           or subcontractors working directly or
             (ii) Any person or organization for whom                      indirectly on any insured's behalf are
                  you may be legally responsible; or                       performing operations if the operations
                                                                           are to test for, monitor, clean up,
                                                                           remove, contain, treat, detoxify or
                                                                           neutralize, or in any way respond to, or
                                                                           assess the effects of, "pollutants"




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      (2) Any loss, cost or expense arising out of                   (5) "Bodily injury" or "property damage" arising
           any:                                                            out of:
          (a) Request, demand, order or statutory or                      (a) The operation          of machinery or
               regulatory requirement that any insured                         equipment that is attached to, or part of,
               or others test for, monitor, clean up,                          a land vehicle that would qualify under
               remove, contain, treat, detoxify or                             the definition of "mobile equipment" if it
               neutralize, or in any way respond to, or                        were not subject to a compulsory or
               assess the effects of, "pollutants"; or                         financial responsibility law or other
          (b) Claim or suit by or on behalf of a                               motor vehicle insurance law where it is
               governmental authority for damages                              licensed or principally garaged; or
               because of testing for, monitoring,                        (b) The operation of any of the machinery
               cleaning up, removing, containing,                              or equipment listed in Paragraph f.(2) or
               treating, detoxifying or neutralizing, or in                    f.(3) of the definition of "mobile
               any way responding to, or assessing the                         equipment".
               effects of, "pollutants".                         h. Mobile Equipment
           However, this paragraph does not apply to                  "Bodily injury" or "property damage" arising out
           liability for damages because of "property                 of:
           damage" that the insured would have in the
           absence of such request, demand, order or                 (1) The transportation of "mobile equipment" by
           statutory or regulatory requirement, or such                    an "auto" owned or operated by or rented or
           claim or "suit" by or on behalf of a                            loaned to any insured; or
           governmental authority.                                   (2) The use of "mobile equipment" in, or while
   g. Aircraft, Auto Or Watercraft                                         in practice for, or while being prepared for,
                                                                           any prearranged racing, speed, demolition,
       "Bodily injury" or "property damage" arising out                    or stunting activity.
       of the ownership, maintenance, use or
       entrustment to others of any aircraft, "auto" or           i. War
       watercraft owned or operated by or rented or                   "Bodily injury" or "property damage", however
       loaned to any insured. Use includes operation                  caused, arising, directly or indirectly, out of:
       and "loading or unloading".
                                                                     (1) War, including undeclared or civil war;
       This exclusion applies even if the claims
                                                                     (2) Warlike action by a military force, including
       against any insured allege negligence or other                      action in hindering or defending against an
       wrongdoing in the supervision,               hiring,                actual or expected attack, by any
       employment, training or monitoring of others by
                                                                           government, sovereign or other authority
       that insured, if the "occurrence" which caused
                                                                           using military personnel or other agents; or
       the "bodily injury" or "property damage"
       involved the ownership, maintenance, use or                   (3)   Insurrection,   rebellion, revolution, usurped
       entrustment to others of any aircraft, "auto" or                    power, or action taken by governmental
       watercraft that is owned or operated by or                          authority in hindering or defending against
       rented or loaned to any insured.                                    any of these.
       This exclusion does not apply to:                         J. Damage To Property
      (1) A watercraft while ashore on premises you                   "Property damage" to:
           own or rent:                                              (1) Property you own, rent, or occupy, including
      (2) A watercraft you do not own that is:                             any costs or expenses incurred by you, or
                                                                           any other person, organization or entity, for
          (a) Less than 26 feet long; and                                  repair,      replacement,        enhancement,
          (b) Not being used to carry persons or                           restoration or maintenance of such property
               property for a charge;                                      for any reason, including prevention of
      (3) Parking an "auto" on, or on the ways next                        injury to a person or damage to another's
           to, premises you own or rent, provided the                      property;
           "auto" is not owned by or rented or loaned                (2) Premises you sell, give away or abandon, if
           to you or the insured;                                          the 'property damage" arises out of any
      (4) Liability assumed under any "insured                             part of those premises;
           contract" for the ownership, maintenance or               (3) Property loaned to you;
           use of aircraft or watercraft; or




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      (4) Personal property in the care, custody or                 This exclusion does not apply to the loss of use
            control of the insured;                                 of other property arising out of sudden and
            That  particular part of real property on               accidental physical injury to "your product" or
      (5)                                                           "your work" after it has been put to its intended
            which you or any contractors or
            subcontractors working directly or indirectly           use
            on your behalf are performing operations, if        n. Recall Of Products, Work Or Impaired
            the "property damage" arises out of those               Property
            operations; or                                          Damages claimed for any loss, cost or
      (6) That particular part of any property that                 expense incurred by you or others for the loss
            must be restored, repaired or replaced                  of use, withdrawal, recall, inspection, repair,
            because "your work" was incorrectly                     replacement, adjustment, removal or disposal
            performed on it.                                        of:
       Paragraphs (1), (3) and (4) of this exclusion do            (1) "Your product";
       not apply to "property damage" (other than                  (2) "Your work"; or
       damage by fire) to premises, including the
       contents of such premises, rented to you for a              (3) "Impaired property";
       period of seven or fewer consecutive days. A                 if such product, work, or property is withdrawn
       separate limit of insurance applies to Damage                or recalled from the market or from use by any
       To Premises Rented To You as described in                    person or organization because of a known or
       Section III — Limits Of Insurance.                           suspected defect, deficiency, inadequacy or
       Paragraph (2) of this exclusion does not apply               dangerous condition in it.
       if the premises are "your work" and were never           o. Personal And Advertising Injury
       occupied, rented or held for rental by you.
                                                                    "Bodily injury" arising out of "personal and
       Paragraphs (3), (4), (5) and (6) of this                     advertising injury".
       exclusion do not apply to liability assumed
                                                                p. Electronic Data
       under a sidetrack agreement.
                                                                   Damages arising out of the loss of, loss of use
       Paragraph (6) of this exclusion does not apply              of, damage to, corruption of, inability to access,
       to "property damage" included in the "products-             or inability to manipulate electronic data.
       completed operations hazard".
                                                                   However, this exclusion does not apply to
  k. Damage To Your Product
                                                                   liability for damages because of "bodily injury".
       "Property damage" to "your product" arising out
                                                                   As used in this exclusion, electronic data
       of it or any part of it.                                    means information, facts or programs stored as
   I. Damage To Your Work                                          or on, created or used on, or transmitted to or
       "Property damage" to "your work" arising out of             from computer software, including systems and
       it or any part of it and included in the "products-         applications software, hard or floppy disks, CD-
       completed operations hazard".                               ROMs, tapes, drives, cells, data processing
                                                                   devices or any other media which are used
       This exclusion does not apply if the damaged                with electronically controlled equipment.
       work or the work out of which the damage
       arises was performed on your behalf by a                 q. Recording And Distribution Of Material Or
       subcontractor.                                              Information In Violation Of Law
  m. Damage To Impaired Property Or Property                       "Bodily injury" or "property damage" arising
       Not Physically Injured                                      directly or indirectly out of any action or
                                                                   omission that violates or is alleged to violate:
       "Property damage" to "impaired property" or
       property that has not been physically injured,             (1) The Telephone Consumer Protection Act
       arising out of:                                                 (TCPA), including any amendment of or
                                                                       addition to such law;
      (1) A defect, deficiency, inadequacy or
            dangerous condition in "your product" or              (2) The CAN-SPAM Act of 2003, including any
            "your work"; or                                            amendment of or addition to such law;
      (2) A delay or failure by you or anyone acting              (3) The Fair Credit Reporting Act (FCRA), and
            on your behalf to perform a contract or                    any amendment of or addition to such law,
            agreement in accordance with its terms.                    including the Fair and Accurate Credit
                                                                       Transactions Act (FACTA); or




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      (4) Any federal, state or local statute,               2. Exclusions
           ordinance or regulation, other than the              This insurance does not apply to:
           TOPA, CAN-SPAM Act of 2003 or FCRA
           and their amendments and additions, that             a. Knowing Violation Of Rights Of Another
           addresses, prohibits, or limits the printing,           "Personal and advertising injury" caused by or
           dissemination,       disposal,      collecting,         at the direction of the insured with the
           recording,        sending,       transmitting,          knowledge that the act would violate the rights
           communicating or distribution of material or            of another and would inflict "personal and
           information.                                            advertising injury".
   Exclusions c. through n. do not apply to damage              b. Material Published With Knowledge Of
   by fire to premises while rented to you or                      Falsity
   temporarily occupied by you with permission of the              "Personal and advertising injury" arising out of
   owner. A separate limit of insurance applies to this
                                                                   oral or written publication, in any manner, of
   coverage as described in Section III — Limits Of                material, if done by or at the direction of the
   Insurance.                                                      insured with knowledge of its falsity.
COVERAGE B — PERSONAL AND ADVERTISING                           c. Material Published Prior To Policy Period
INJURY LIABILITY
                                                                   "Personal and advertising injury" arising out of
1. Insuring Agreement                                              oral or written publication, in any mariner, of
   a. We will pay those sums that the insured                      material whose first publication took place
       becomes legally obligated to pay as damages                 before the beginning of the policy period.
       because of "personal and advertising injury" to
                                                                d. Criminal Acts
       which this insurance applies. We will have the
       right and duty to defend the insured against                "Personal and advertising injury" arising out of
       any "suit" seeking those damages. However,                  a criminal act committed by or at the direction
       we will have no duty to defend the insured                  of the insured.
       against any "suit" seeking damages for                   e. Contractual Liability
       "personal and advertising injury" to which this
                                                                   "Personal and advertising injury" for which the
       insurance does not apply. We may, at our
                                                                   insured has assumed liability in a contract or
       discretion, investigate any offense and settle
       any claim or "suit" that may result. But:                   agreement. This exclusion does not apply to
                                                                   liability for damages that the insured would
      (1) The amount we will pay for damages is                    have in the absence of the contract or
           limited as described in Section III — Limits            agreement.
           Of Insurance; and
                                                                f. Breach Of Contract
      (2) Our right and duty to defend end when we
                                                                   "Personal and advertising injury" arising out of
           have used up the applicable limit of
           insurance in the payment of judgments or                a breach of contract, except an implied
           settlements under Coverages A or B or                   contract to use another's advertising idea in
                                                                   your "advertisement".
           medical expenses under Coverage C.
       No other obligation or liability to pay sums or          g. Quality Or Performance Of Goods — Failure
                                                                   To Conform To Statements
       perform acts or services is covered unless
       explicitly provided for under Supplementary                 "Personal and advertising injury" arising out of
       Payments — Coverages A and B.                               the failure of goods, products or services to
   b. This insurance applies to "personal and                      conform with any statement of quality or
                                                                   performance made in your "advertisement".
       advertising injury" caused by an offense arising
       out of your business but only if the offense was         h. Wrong Description Of Prices
       committed in the "coverage territory" during the            "Personal and advertising injury" arising out of
       policy period.                                              the wrong description of the price of goods,
                                                                   products or services stated in             your
                                                                   "advertisement"




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   i. Infringement Of Copyright, Patent,                       n. Pollution -related
       Trademark Or Trade Secret                                    Any loss, cost or expense arising out of any:
       "Personal and advertising injury" arising out of            (1) Request, demand, order or statutory or
       the     infringement of copyright,         patent,               regulatory requirement that any insured or
       trademark, trade secret or other intellectual                    others test for, monitor, clean up, remove,
       property rights. Under this exclusion, such                      contain, treat, detoxify or neutralize, or in
       other intellectual property rights do not include                any way respond to, or assess the effects
       the use of another's advertising idea in your                    of, "pollutants"; or
       "advertisement".
                                                                   (2) Claim or suit by or on behalf of a
       However, this exclusion does not apply to                        governmental authority for damages
       infringement, in your "advertisement", of                        because of testing for, monitoring, cleaning
       copyright, trade dress or slogan.                                up,      removing,     containing,      treating,
       Insureds In Media And Internet Type                              detoxifying or neutralizing, or in any way
       Businesses                                                       responding to, or assessing the effects of,
       "Personal and advertising injury" committed by                   "pollutants".
       an insured whose business is:                           o War
      (1) Advertising, broadcasting, publishing or                  "Personal and advertising injury", however
           telecasting;                                             caused, arising, directly or indirectly, out of:
      (2) Designing or determining content of web                 (1) War, including undeclared or civil war;
           sites for others; or                                   (2) Warlike action by a military force, including
      (3) An Internet search, access, content or                        action in hindering or defending against an
           service provider.                                            actual or expected attack, by any
       However, this exclusion does not apply to                        government, sovereign or other authority
       Paragraphs 14.a., b. and c. of "personal and                     using military personnel or other agents; or
       advertising injury" under the Definitions                  (3) Insurrection, rebellion, revolution, usurped
       section.                                                         power, or action taken by governmental
       For the purposes of this exclusion, the placing                  authority in hindering or defending against
       of frames, borders or links, or advertising, for                 any of these.
       you or others anywhere on the Internet, is not          ID. Recording And Distribution Of Material Or
       by itself, considered the business of                        Information In Violation Of Law
       advertising,     broadcasting,    publishing   or            "Personal and advertising injury" arising
       telecasting.                                                 directly or indirectly out of any action or
  k. Electronic Chatrooms Or Bulletin Boards                        omission that violates or is alleged to violate:
       "Personal and advertising injury" arising out of           (1) The Telephone Consumer Protection Act
       an electronic chatroom or bulletin board the                     (TCPA), including any amendment of or
       insured hosts, owns, or over which the insured                   addition to such law;
       exercises control.                                         (2) The CAN-SPAM Act of 2003, including any
   I. Unauthorized Use Of Another's Name Or                             amendment of or addition to such law;
       Product                                                          The   Fair Credit Reporting Act (FCRA), and
                                                                  (3)
       "Personal and advertising injury" arising out of                 any amendment of or addition to such law,
       the unauthorized use of another's name or                        including the Fair and Accurate Credit
       product in your e-mail address, domain name                      Transactions Act (FACTA); or
       or metatag, or any other similar tactics to                (4) Any federal, state or local statute,
       mislead another's potential customers.                           ordinance or regulation, other than the
  m. Pollution                                                          TCPA, CAN-SPAM Act of 2003 or FCRA
       "Personal and advertising injury" arising out of                 and their amendments and additions, that
       the actual, alleged or threatened discharge,                     addresses, prohibits, or limits the printing,
       dispersal, seepage, migration, release or                        dissemination,        disposal,       collecting,
       escape of "pollutants" at any time.                              recording,         sending,        transmitting,
                                                                        communicating or distribution of material or
                                                                        information.




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COVERAGE C — MEDICAL PAYMENTS                                   d. Workers' Compensation And Similar Laws
1. Insuring Agreement                                               To a person, whether or not an "employee" of
   a. We will pay medical expenses as described                     any insured, if benefits for the "bodily injury"
       below for "bodily injury" caused by an accident:             are payable or must be provided under a
                                                                    workers compensation or disability benefits
      (1) On premises you own or rent;                              law or a similar law.
      (2) On ways next to premises you own or rent;             e. Athletics Activities
           or
                                                                    To a person injured while practicing, instructing
      (3) Because of your operations;                               or participating in any physical exercises or
       provided that:                                               games, sports, or athletic contests.
          (a) The accident takes place in the                    f. Products -Completed Operations Hazard
              "coverage territory" and during the policy            Included within the "products-completed
              period;                                               operations hazard".
          (b) The expenses are incurred and reported            g. Coverage A Exclusions
              to us within one year of the date of the
              accident; and                                         Excluded under Coverage A.
          (c) The     injured    person     submits to       SUPPLEMENTARY PAYMENTS — COVERAGES A
              examination, at our expense, by                AND B
              physicians of our choice as often as we        1. We will pay, with respect to any claim we
              reasonably require.                               investigate or settle, or any "suit" against an
   b. We will make these payments regardless of                 insured we defend:
       fault. These payments will not exceed the                a. All expenses we incur.
       applicable limit of insurance. We will pay               b. Up to $250 for cost of bail bonds required
       reasonable expenses for:                                     because of accidents or traffic law violations
      (1) First aid administered at the time of an                  arising out of the use of any vehicle to which
           accident;                                                the Bodily Injury Liability Coverage applies. We
      (2) Necessary medical, surgical, X-ray and                    do not have to furnish these bonds.
           dental    services,    including    prosthetic       c. The cost of bonds to release attachments, but
           devices; and                                             only for bond amounts within the applicable
      (3) Necessary           ambulance,        hospital,           limit of insurance. We do not have to furnish
           professional nursing and funeral services.               these bonds.
2. Exclusions                                                   d. All reasonable expenses incurred by the
                                                                    insured at our request to assist us in the
   We will not pay expenses for "bodily injury":                    investigation or defense of the claim or "suit",
   a. Any Insured                                                   including actual loss of earnings up to $250 a
                                                                    day because of time off from work.
       To any insured, except "volunteer workers".
                                                                e. All court costs taxed against the insured in the
   b. Hired Person
                                                                    "suit". However, these payments do not include
       To a person hired to do work for or on behalf of             attorneys' fees or attorneys' expenses taxed
       any insured or a tenant of any insured.                      against the insured.
   c. Injury On Normally Occupied Premises                       f. Prejudgment interest awarded against the
      To a person injured on that part of premises                  insured on that part of the judgment we pay. If
      you own or rent that the person normally                      we make an offer to pay the applicable limit of
      occupies.                                                     insurance, we will not pay any prejudgment
                                                                    interest based on that period of time after the
                                                                    offer.




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   g. All interest on the full amount of any judgment           So long as the above conditions are met,
        that accrues after entry of the judgment and            attorneys' fees incurred by us in the defense of
        before we have paid, offered to pay, or                 that indemnitee, necessary litigation expenses
        deposited in court the part of the judgment that        incurred by us and necessary litigation expenses
        is within the applicable limit of insurance.            incurred by the indemnitee at our request will be
   These payments will not reduce the limits of                 paid         as       Supplementary           Payments.
   insurance.                                                   Notwithstanding the provisions of Paragraph
                                                                2.b.(2) of Section 1 — Coverage A — Bodily Injury
2. If we defend an insured against a "suit" and an              And Property Damage Liability, such payments will
   indemnitee of the insured is also named as a party           not be deemed to be damages for "bodily injury"
   to the "suit", we will defend that indemnitee if all of      and "property damage" and will not reduce the
   the following conditions are met:                            limits of insurance.
   a. The "suit" against the indemnitee seeks                   Our obligation to defend an insured's indemnitee
        damages for which the insured has assumed               and to pay for attorneys' fees and necessary
        the liability of the indemnitee in a contract or        litigation expenses as Supplementary Payments
        agreement that is an "insured contract";                ends when we have used up the applicable limit of
   b. This insurance applies to such liability                  insurance in the payment of judgments or
        assumed by the insured;                                 settlements or the conditions set forth above, or
                                                                the terms of the agreement described in
   c. The obligation to defend, or the cost of the
                                                                Paragraph f. above, are no longer met.
        defense of, that indemnitee, has also been
        assumed by the insured in the same "insured          SECTION II— WHO IS AN INSURED
        contract";                                           1. If you are designated in the Declarations as:
   d. The allegations in the "suit" and the information         a. An individual, you and your spouse are
        we know about the "occurrence" are such that                 insureds, but only with respect to the conduct
        no conflict appears to exist between the                     of a business of which you are the sole owner.
        interests of the insured and the interests of the
        indemnitee;                                             b. A partnership or joint venture, you are an
                                                                     insured. Your members, your partners, and
   e. The indemnitee and the insured ask us to                       their spouses are also insureds, but only with
        conduct and control the defense of that                      respect to the conduct of your business.
        indemnitee against such "suit" and agree that
        we can assign the same counsel to defend the            c. A limited liability company, you are an insured.
        insured and the indemnitee; and                              Your members are also insureds, but only with
                                                                     respect to the conduct of your business. Your
    f. The indemnitee:                                               managers are insureds, but only with respect
       (1) Agrees in writing to:                                     to their duties as your managers.
           (a) Cooperate with us in the investigation,          d. An organization other than a partnership, joint
                settlement or defense of the "suit";                 venture or limited liability company, you are an
                                                                     insured. Your "executive officers" and directors
           (b) Immediately send us copies of any
                demands, notices, summonses or legal                 are insureds, but only with respect to their
                papers received in connection with the               duties as your officers or directors. Your
                                                                     stockholders are also insureds, but only with
                "suit";
                                                                     respect to their liability as stockholders.
           (c) Notify any other insurer whose coverage
                is available to the indemnitee; and             e. A trust, you are an insured. Your trustees are
                                                                     also insureds, but only with respect to their
           (d) Cooperate with us with respect to                     duties as trustees.
                coordinating other applicable insurance
                available to the indemnitee; and
       (2) Provides us with written authorization to:
           (a) Obtain records and other information
                related to the "suit"; and
           (b) Conduct and control the defense of the
                indemnitee in such "suit"




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2. Each of the following is also an insured:                      c. Any person or organization having proper
   a. Your "volunteer workers" only while performing                  temporary custody of your property if you die,
       duties related to the conduct of your business,                but only:
       or your "employees", other than either your                   (1) With respect to liability arising out of the
       "executive officers" (if you are an organization                   maintenance or use of that property; and
       other than a partnership, joint venture or limited           (2) Until your legal representative has been
       liability company) or your managers (if you are                    appointed.
       a limited liability company), but only for acts
       within the scope of their employment by you or            d. Your legal representative if you die, but only
       while performing duties related to the conduct                 with respect to duties as such. That
       of your business. However, none of these                       representative will have all your rights and
       "employees" or "volunteer workers" are                         duties under this Coverage Part.
       insureds for:                                         3. Any organization you newly acquire or form, other
      (1) "Bodily injury" or "personal and advertising           than a partnership, joint venture or limited liability
           injury":                                              company, and over which you maintain ownership
                                                                 or majority interest, will qualify as a Named
          (a) To you, to your partners or members (if            Insured if there is no other similar insurance
                you are a partnership or joint venture),         available to that organization. However:
                to your members (if you are a limited
                liability company), to a co-"employee"           a. Coverage under this provision is afforded only
                while in the course of his or her                     until the 90th day after you acquire or form the
                employment or performing duties related               organization or the end of the policy period,
                to the conduct of your business, or to                whichever is earlier;
                your other "volunteer workers" while             b. Coverage A does not apply to "bodily injury" or
                performing duties related to the conduct              "property damage" that occurred before you
                of your business;                                     acquired or formed the organization; and
          (b) To the spouse, child, parent, brother or           c. Coverage B does not apply to "personal and
                sister of that co-"employee" or                       advertising injury" arising out of an offense
                "volunteer worker" as a consequence of                committed before you acquired or formed the
                Paragraph (1)(a) above;                               organization.
          (c) For which there is any obligation to           No person or organization is an insured with respect
                share damages with or repay someone          to the conduct of any current or past partnership, joint
                else who must pay damages because of         venture or limited liability company that is not shown
                the injury described in Paragraph (1)(a)     as a Named Insured in the Declarations.
                or (b) above; or                             SECTION III — LIMITS OF INSURANCE
          (d) Arising out of his or her providing or         1. The Limits of Insurance shown in the Declarations
                failing to provide professional health           and the rules below fix the most we will pay
                care services.
                                                                 regardless of the number of:
      (2) "Property damage" to property:
                                                                 a. Insureds;
          (a) Owned, occupied or used by;
                                                                 b. Claims made or "suits" brought; or
          (b) Rented to, in the care, custody or                 c. Persons or organizations making claims or
                control of, or over which physical control            bringing "suits".
                is being exercised for any purpose by;
                                                             2. The General Aggregate Limit is the most we will
           you, any of your "employees", "volunteer              pay for the sum of:
           workers", any partner or member (if you are
           a partnership or joint venture), or any               a. Medical expenses under Coverage C;
           member (if you are a limited liability                b. Damages under Coverage A, except damages
           company).                                                  because of "bodily injury" or "property damage"
   b. Any person (other than your "employee" or                       included in the "products-completed operations
       "volunteer worker"), or any organization while                 hazard"; and
       acting as your real estate manager.                       c. Damages under Coverage B.




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3. The Products-Completed Operations Aggregate                   (3) The nature and location of any injury or
    Limit is the most we will pay under Coverage A for                 damage arising out of the "occurrence" or
    damages because of "bodily injury" and "property                   offense.
    damage" included in the "products-completed               b. If a claim is made or "suit" is brought against
    operations hazard".                                           any insured, you must:
4. Subject to Paragraph 2. above, the Personal And               (1) Immediately record the specifics of the
    Advertising Injury Limit is the most we will pay                   claim or "suit" and the date received; and
    under Coverage B for the sum of all damages
    because of all "personal and advertising injury"             (2) Notify us as soon as practicable.
    sustained by any one person or organization.                  You must see to it that we receive written
5. Subject to Paragraph 2. or 3. above, whichever                 notice of the claim or "suit" as soon as
    applies, the Each Occurrence Limit is the most we             practicable.
    will pay for the sum of:                                  c. You and any other involved insured must:
    a. Damages under Coverage A; and                             (1) Immediately send us copies of any
    b. Medical expenses under Coverage C                               demands, notices, summonses or legal
                                                                       papers received in connection with the
    because of all "bodily injury" and "property                       claim or "suit";
    damage" arising out of any one "occurrence".
                                                                 (2) Authorize us to obtain records and other
6. Subject to Paragraph 5. above, the Damage To                        information;
    Premises Rented To You Limit is the most we will
    pay under Coverage A for damages because of                  (3) Cooperate with us in the investigation or
    "property damage" to any one premises, while                       settlement of the claim or defense against
    rented to you, or in the case of damage by fire,                   the "suit"; and
    while rented to you or temporarily occupied by you           (4) Assist us, upon our request, in the
    with permission of the owner.                                      enforcement of any right against any
7. Subject to Paragraph 5. above, the Medical                          person or organization which may be liable
    Expense Limit is the most we will pay under                        to the insured because of injury or damage
    Coverage C for all medical expenses because of                     to which this insurance may also apply.
    "bodily injury" sustained by any one person.              d. No insured will, except at that insured's own
The Limits of Insurance of this Coverage Part apply               cost, voluntarily make a payment, assume any
separately to each consecutive annual period and to               obligation, or incur any expense, other than for
any remaining period of less than 12 months, starting             first aid, without our consent.
with the beginning of the policy period shown in the       3. Legal Action Against Us
Declarations, unless the policy period is extended            No person or organization has a right under this
after issuance for an additional period of less than 12       Coverage Part:
months. In that case, the additional period will be
deemed part of the last preceding period for purposes         a. To join us as a party or otherwise bring us into
of determining the Limits of Insurance.                           a "suit" asking for damages from an insured; or
SECTION IV — COMMERCIAL GENERAL LIABILITY                     b. To sue us on this Coverage Part unless all of
CONDITIONS                                                        its terms have been fully complied with.
1. Bankruptcy                                                 A person or organization may sue us to recover on
                                                              an agreed settlement or on a final judgment
    Bankruptcy or insolvency of the insured or of the         against an insured; but we will not be liable for
    insured's estate will not relieve us of our               damages that are not payable under the terms of
    obligations under this Coverage Part.                     this Coverage Part or that are in excess of the
2. Duties In The Event Of Occurrence, Offense,                applicable limit of insurance. An agreed settlement
    Claim Or Suit                                             means a settlement and release of liability signed
    a. You must see to it that we are notified as soon        by us, the insured and the claimant or the
        as practicable of an "occurrence" or an offense       claimant's legal representative.
        which may result in a claim. To the extent
        possible, notice should include:
       (1) How, when and where the "occurrence" or
            offense took place;
       (2) The names and addresses of any injured
            persons and witnesses; and




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4. Other Insurance                                                  (3) When this insurance is excess over other
   If other valid and collectible insurance is available                  insurance, we will pay only our share of the
   to the insured for a loss we cover under                               amount of the loss, if any, that exceeds the
   Coverages A or B of this Coverage Part, our                            sum of:
   obligations are limited as follows:                                   (a) The total amount that all such other
   a. Primary Insurance                                                       insurance would pay for the loss in the
                                                                              absence of this insurance; and
       This insurance is primary except when
       Paragraph b. below applies. If this insurance is                  (b) The total of all deductible and self-
       primary, our obligations are not affected unless                       insured amounts under all that other
       any of the other insurance is also primary.                            insurance.
       Then, we will share with all that other                      (4) We will share the remaining loss, if any,
       insurance by the method described in                               with any other insurance that is not
       Paragraph c. below.                                                described in this Excess Insurance
   b. Excess Insurance                                                    provision and was not bought specifically to
                                                                          apply in excess of the Limits of Insurance
      (1) This insurance is excess over:                                  shown in the Declarations of this Coverage
          (a) Any of the other insurance, whether                         Part.
                primary, excess, contingent or on any            c. Method Of Sharing
                other basis:
                                                                     If all of the other insurance permits contribution
                (i) That is Fire. Extended Coverage,                 by equal shares, we will follow this method
                    Builder's Risk, Installation Risk or             also. Under this approach each insurer
                    similar coverage for "your work";                contributes equal amounts until it has paid its
               (ii) That is Fire insurance for premises              applicable limit of insurance or none of the loss
                    rented to you or temporarily                     remains, whichever comes first.
                    occupied by you with permission of               If any of the other insurance does not permit
                    the owner;                                       contribution by equal shares, we will contribute
             (iii) That is insurance purchased by you                by limits. Under this method, each insurer's
                    to cover your liability as a tenant for          share is based on the ratio of its applicable
                    "property damage" to premises                    limit of insurance to the total applicable limits of
                    rented to you or temporarily                     insurance of all insurers.
                    occupied by you with permission of        5. Premium Audit
                    the owner; or
                                                                 a. We will compute all premiums for this
             (iv) If the loss arises out of the                      Coverage Part in accordance with our rules
                    maintenance or use of aircraft,                  and rates.
                    "autos" or watercraft to the extent not
                    subject to Exclusion g. of Section I —       b. Premium shown in this Coverage Part as
                    Coverage A — Bodily Injury And                   advance premium is a deposit premium only.
                    Property Damage Liability.                       At the close of each audit period we will
                                                                     compute the earned premium for that period
          (b) Any other primary insurance available to               and send notice to the first Named Insured.
                you covering liability for damages                   The due date for audit and retrospective
                arising out of the premises or                       premiums is the date shown as the due date
                operations, or the products and                      on the bill. If the sum of the advance and audit
                completed operations, for which you                  premiums paid for the policy period is greater
                have been added as an additional                     than the earned premium, we will return the
                insured.                                             excess to the first Named Insured.
      (2) When this insurance is excess, we will have            c. The first Named Insured must keep records of
           no duty under Coverages A or B to defend                  the information we need for premium
           the insured against any "suit" if any other               computation, and send us copies at such times
           insurer has a duty to defend the insured                  as we may request.
           against that "suit". If no other insurer
           defends, we will undertake to do so, but we        6. Representations
           will be entitled to the insured's rights              By accepting this policy, you agree:
           against all those other insurers.                     a. The statements in the Declarations are
                                                                     accurate and complete;




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   b. Those       statements      are     based       upon        However, "auto" does not include "mobile
        representations you made to us; and                      equipment".
    c. We have issued this policy in reliance upon            1 "Bodily injury" means bodily injury, sickness or
        your representations.                                    disease sustained by a person, including death
7. Separation Of Insureds                                        resulting from any of these at any time.
   Except with respect to the Limits of Insurance, and        4. "Coverage territory" means:
   any rights or duties specifically assigned in this             a. The United States of America (including its
   Coverage Part to the first Named Insured, this                    territories and possessions), Puerto Rico and
   insurance applies:                                                Canada;
   a. As if each Named Insured were the only                     b. International waters or airspace, but only if the
        Named Insured; and                                           injury or damage occurs in the course of travel
   b. Separately to each insured against whom claim                  or transportation between any places included
        is made or "suit" is brought.                                in Paragraph a. above; or
8. Transfer Of Rights Of Recovery Against Others                  c. All other parts of the world if the injury or
   To Us                                                             damage arises out of:
   If the insured has rights to recover all or part of              (1) Goods or products made or sold by you in
   any payment we have made under this Coverage                          the territory described in Paragraph a.
   Part, those rights are transferred to us. The                         above;
   insured must do nothing after loss to impair them.               (2) The activities of a person whose home is in
   At our request, the insured will bring "suit" or                      the territory described in Paragraph a.
   transfer those rights to us and help us enforce                       above, but is away for a short time on your
   them.                                                                 business; or
9. When We Do Not Renew                                             (3) "Personal and advertising injury" offenses
   If we decide not to renew this Coverage Part, we                      that take place through the Internet or
   will mail or deliver to the first Named Insured                       similar electronic means of communication;
   shown in the Declarations written notice of the                   provided the insured's responsibility to pay
   nonrenewal not less than 30 days before the                       damages is determined in a "suit" on the
   expiration date.                                                  merits, in the territory described in Paragraph
   If notice is mailed, proof of mailing will be sufficient          a. above or in a settlement we agree to.
   proof of notice.                                           5. "Employee"       includes    a    "leased    worker".
SECTION V — DEFINITIONS                                          "Employee" does not include a "temporary
                                                                 worker".
1. "Advertisement" means a notice that is broadcast
   or published to the general public or specific             6. "Executive officer" means a person holding any of
   market segments about your goods, products or                 the officer positions created by your charter,
   services for the purpose of attracting customers or           constitution, bylaws or any other similar governing
   supporters. For the purposes of this definition:              document.
   a. Notices that are published include material             7. "Hostile fire" means one which becomes
       placed on the Internet or on similar electronic           uncontrollable or breaks out from where it was
       means of communication; and                               intended to be.
   b. Regarding web sites, only that part of a web            8. "Impaired property" means tangible property, other
       site that is about your goods, products or                than "your product" or "your work", that cannot be
       services for the purposes of attracting                   used or is less useful because:
       customers or supporters is considered an                  a. It incorporates "your product" or "your work"
       advertisement.                                                that is known or thought to be defective,
2. "Auto" means:                                                     deficient, inadequate or dangerous; or
   a. A land motor vehicle, trailer or semitrailer               b. You have failed to fulfill the terms of a contract
       designed for travel on public roads, including                or agreement;
       any attached machinery or equipment; or                   if such property can be restored to use by the
   b. Any other land vehicle that is subject to a                repair, replacement, adjustment or removal of
       compulsory or financial responsibility law or             "your product" or your work" or your fulfilling the
       other motor vehicle insurance law where it is             terms of the contract or agreement.
       licensed or principally garaged.




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9. "Insured contract" means:                                    10. "Leased worker" means a person leased to you by
   a. A contract for a lease of premises. However,                  a labor leasing firm under an agreement between
        that portion of the contract for a lease of                 you and the labor leasing firm, to perform duties
        premises that indemnifies any person or                     related to the conduct of your business. "Leased
        organization for damage by fire to premises                 worker" does not include a "temporary worker".
        while rented to you or temporarily occupied by          11."Loading or unloading" means the handling of
        you with permission of the owner is not an                  property:
        "insured contract";                                          a. After it is moved from the place where it is
   b. A sidetrack agreement;                                             accepted for movement into or onto an aircraft,
   c. Any easement or license agreement, except in                       watercraft or "auto";
        connection with construction or demolition                  b. While it is in or on an aircraft, watercraft or
        operations on or within 50 feet of a railroad;                   "auto"; or
   d. An obligation, as required by ordinance, to                   c. While it is being moved from an aircraft,
        indemnify a municipality, except in connection                   watercraft or "auto" to the place where it is
        with work for a municipality;                                    finally delivered;
   e. An elevator maintenance agreement;                            but "loading or unloading" does not include the
    f. That part of any other contract or agreement                 movement of property by means of a mechanical
        pertaining to your business (including an                   device, other than a hand truck, that is not
        indemnification of a municipality in connection             attached to the aircraft, watercraft or "auto".
        with work performed for a municipality) under           12."Mobile equipment" means any of the following
        which you assume the tort liability of another              types of land vehicles, including any attached
        party to pay for "bodily injury" or "property               machinery or equipment:
        damage" to a third person or organization. Tort             a. Bulldozers, farm machinery, forklifts and other
        liability means a liability that would be imposed                vehicles designed for use principally off public
        by law in the absence of any contract or                         roads;
        agreement.
                                                                    b. Vehicles maintained for use solely on or next to
        Paragraph f. does not include that part of any                   premises you own or rent;
        contract or agreement:
                                                                    c. Vehicles that travel on crawler treads;
       (1) That indemnifies a railroad for "bodily injury"
            or "property damage" arising out of                     d. Vehicles, whether self-propelled or not,
            construction or demolition operations, within                maintained primarily to provide mobility to
            50 feet of any railroad property and                         permanently mounted:
            affecting any railroad bridge or trestle,                   (1) Power cranes, shovels, loaders, diggers or
            tracks, road-beds, tunnel, underpass or                          drills; or
            crossing;
                                                                        (2) Road construction or resurfacing equipment
       (2) That indemnifies an architect, engineer or                        such as graders, scrapers or rollers;
            surveyor for injury or damage arising out of:           e. Vehicles not described in Paragraph a., b., c.
           (a) Preparing, approving, or failing to                       or d. above that are not self-propelled and are
                 prepare or approve, maps, shop                          maintained primarily to provide mobility to
                 drawings, opinions, reports, surveys,                   permanently attached equipment of the
                 field orders, change orders or drawings                 following types:
                 and specifications; or                                 (1) Air compressors, pumps and generators,
           (b) Giving directions or instructions, or                          including spraying,     welding,     building
                 failing to give them, if that is the primary                cleaning, geophysical exploration, lighting
                 cause of the injury or damage; or                           and well servicing equipment; or
      (3) Under which the insured, if an architect,                     (2) Cherry pickers and similar devices used to
            engineer or surveyor, assumes liability for                       raise or lower workers;
            an injury or damage arising out of the                   f. Vehicles not described in Paragraph a., b., c.
            insured's rendering or failure to render
                                                                         or d. above maintained primarily for purposes
            professional services, including those listed
                                                                         other than the transportation of persons or
            in (2) above and supervisory, inspection,
                                                                         cargo.
            architectural or engineering activities.




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        However, self-propelled vehicles with the            16. "Products-completed operations hazard":
        following types of permanently attached                   a. Includes all "bodily injury" and "property
        equipment are not "mobile equipment" but will                damage" occurring away from premises you
        be considered "autos":                                       own or rent and arising out of "your product" or
       (1) Equipment designed primarily for:                         "your work" except:
            (a) Snow removal;                                       (1) Products that are still in your physical
            (b) Road maintenance, but not construction                   possession; or
                 or resurfacing; or                                 (2) Work that has not yet been completed or
            (c) Street cleaning;                                         abandoned. However, "your work" will be
                                                                         deemed completed at the earliest of the
       (2) Cherry pickers and similar devices mounted                    following times:
             on automobile or truck chassis and used to
             raise or lower workers; and                                (a) When all of the work called for in your
                                                                              contract has been completed.
       (3) Air compressors, pumps and generators,                       (b) When all of the work to be done at the
             including    spraying,   welding,   building
             cleaning, geophysical exploration, lighting                     job site has been completed if your
             and well servicing equipment.                                   contract calls for work at more than one
                                                                             job site.
    However, "mobile equipment" does not include
   any land vehicles that are subject to a compulsory                   (c) When that part of the work done at a job
   or financial responsibility law or other motor                            site has been put to its intended use by
   vehicle insurance law where it is licensed or                             any person or organization other than
   principally garaged. Land vehicles subject to a                           another contractor or subcontractor
   compulsory or financial responsibility law or other                       working on the same project.
   motor vehicle insurance law are considered                            Work that may need service, maintenance,
   "autos".                                                              correction, repair or replacement, but which
13."Occurrence" means an accident, including                             is otherwise complete, will be treated as
   continuous or repeated exposure to substantially                      completed.
   the same general harmful conditions.                          b. Does not include "bodily injury" or "property
14."Personal and advertising injury" means injury,                   damage" arising out of:
   including consequential "bodily injury", arising out             (1) The transportation of property, unless the
   of one or more of the following offenses:                             injury or damage arises out of a condition in
   a. False arrest, detention or imprisonment;                           or on a vehicle not owned or operated by
                                                                         you, and that condition was created by the
   b. Malicious prosecution;                                             "loading or unloading" of that vehicle by any
   c. The wrongful eviction from, wrongful entry into,                   insured;
        or invasion of the right of private occupancy of            (2) The existence of tools, uninstalled
        a room, dwelling or premises that a person                       equipment or abandoned or unused
        occupies, committed by or on behalf of its                       materials; or
        owner, landlord or lessor;
                                                                    (3) Products or operations for which the
   d. Oral or written publication, in any manner, of                     classification, listed in the Declarations or in
        material that slanders or libels a person or                     a policy Schedule, states that products-
        organization or disparages a person's or                         completed operations are subject to the
        organization's goods, products or services;                      General Aggregate Limit.
   e. Oral or written publication, in any manner, of         17."Property damage" means:
        material that violates a person's right of
        privacy;                                                 a. Physical injury to tangible property, including
                                                                     all resulting loss of use of that property. All
    f. The use of another's advertising idea in your                 such loss of use shall be deemed to occur at
        "advertisement"; or                                          the time of the physical injury that caused it; or
   g. Infringing upon another's copyright, trade dress           b. Loss of use of tangible property that is not
        or slogan in your "advertisement".                           physically injured. All such loss of use shall be
15."Pollutants" mean any solid, liquid, gaseous or                   deemed to occur at the time of the
   thermal irritant or contaminant, including smoke,                 "occurrence" that caused it.
   vapor, soot, fumes, acids, alkalis, chemicals and             For the purposes of this insurance, electronic data
   waste. Waste includes materials to be recycled,               is not tangible property.
   reconditioned or reclaimed.



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    As used in this definition, electronic data means           b. Includes:
    information, facts or programs stored as or on,                (1) Warranties or representations made at any
    created or used on, or transmitted to or from                      time with respect to the fitness, quality,
    computer software, including systems and                           durability, performance or use of "your
    applications software, hard or floppy disks, CD-                   product"; and
     ROMs, tapes, drives, cells, data processing
    devices or any other media which are used with                 (2) The providing of or failure to provide
    electronically controlled equipment.                               warnings or instructions.
18."Suit" means a civil proceeding in which damages             c. Does not include vending machines or other
    because of "bodily injury", "property damage" or                property rented to or located for the use of
    "personal and advertising injury" to which this                 others but not sold.
    insurance applies are alleged. "Suit" includes:         22. "Your work":
    a. An arbitration proceeding in which such                  a. Means:
        damages are claimed and to which the insured              (1) Work or operations performed by you or on
        must submit or does submit with our consent;
                                                                       your behalf; and
        or
                                                                  (2) Materials, parts or equipment furnished in
    b. Any other alternative dispute resolution                        connection with such work or operations.
        proceeding in which such damages are
        claimed and to which the insured submits with           b. Includes:
        our consent.                                              (1) Warranties or representations made at any
19."Temporary worker" means a person who is                            time with respect to the fitness, quality,
    furnished to you to substitute for a permanent                     durability, performance or use of "your
    "employee" on leave or to meet seasonal or short-                  work"; and
    term workload conditions.                                     (2) The providing of or failure to provide
20. "Volunteer worker" means a person who is not                       warnings or instructions.
    your "employee", and who donates his or her work
    and acts at the direction of and within the scope of
    duties determined by you, and is not paid a fee,
    salary or other compensation by you or anyone
    else for their work performed for you.
21. "Your product":
    a. Means:
       (1) Any goods or products, other than real
            property, manufactured, sold, handled,
            distributed or disposed of by:
           (a) You;
           (b) Others trading under your name; or
           (c) A person or organization whose
                business or assets you have acquired;
                and
       (2) Containers (other than vehicles), materials,
            parts or equipment furnished in connection
            with such goods or products.




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  **
:IPA*
*    Group *
    * * *


                                    MINIMUM EARNED PREMIUM
                                   CANCELLATIONS AND AUDITS



    It is hereby understood and agreed that in the event of cancellation of coverage by the insured.
    the minimum earned premium under this policy shall be      25°o          of the policy premium_

 It is further understood the minimum earned premium of this policy shall be        100%         of
 the policy premium if the policy is in effect for the full term and the audit shows a lower exposure
 than estimated.




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 *TA
   *    Group *
       * * *
                                  COMBINED PROVISIONS ENDORSEMENT


                         This endorsement modifies insurance provided under the following:

     Commercial General Liability Coverage Part . Commercial Professional Liability Coverage Part
                                    Liquor Liability Coverage Form
In consideration of the premium charged it is agreed that the following special provisions apply to this policy


                                     PUNITIVE DAMAGES EXCLUSION
It is part of the conditions of this policy that the Company shall not be liable for any damages awarded against an
insured as punitive or exemplary damages.


                                           ASBESTOS EXCLUSION
In consideration of the premium charged, it is hereby understood and agreed that this policy will not provide
coverage, meaning indemnification or defense costs arising out of:

            Asbestos or any asbestos related bodily injury or property damage; or
       (A)
            Any alleged act, error, omission or duty involving asbestos, its use, exposure, presence, existence,
       (6 )
            detection, removal, elimination, transportation, disposal or avoidance; or
       (C) The use, exposure, presence, existence, detection, removal, elimination or avoidance of asbestos in any
            environment, building or structure.


                                     EARTH MOVEMENT EXCLUSION
In consideration of the premium charged, it is understood and agreed that this policy specifically excludes and
does not extend to or provide coverage or indemnity for any claim of liability for bodily injury or property damage
caused by, resulting from, attributable or contributed to, or aggravated by the subsidence or movement of land as
a result of earthquake, landslide, mudflow, earth sinking or shifting, resulting from, aggravated by or contributed to
by operations of the named insured or any subcontractor of the named insured.




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  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  LEAD CONTAMINATION EXCLUSION
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    COMMERCIAL UMBRELLA LIABILITY COVERAGE PART

In consideration of the premium charged it is hereby understood and agreed that this policy will not
provide coverage, meaning indemnification or defense costs, arising out of:
    "Bodily Injury", "Property Damage", Personal Injury, Advertising Injury, Medical Payments or any
    other damages because of liability, alleged liability, or occurrence resulting from, caused by, arising
    out of or in any way connected with:
   The existence of lead, the removal of lead, the testing for lead, or exposure to lead in any form which
   is or has at any time been present in, on, or near: the insured's premises; or, at any location at which
   the insured is working or has worked in connection with such existence. removal or testing.
    1) Whether or not caused by, at the instigation of, or with the direct or indirect involvement of the
       insured, the insured's employees or other persons on the insured's premises or work site; or,
    2) Whether or not caused by or arising out of the insured's failure to properly supervise or keep the
       work site in a safe condition.




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POLICY NUMBER:         PAV0361274                                            COMMERCIAL GENERAL LIABILITY
                                                                                            CG 20 11 12 19

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  ADDITIONAL INSURED - MANAGERS OR
                         LESSORS OF PREMISES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                       SCHEDULE

 Designation Of Premises (Part Leased To You):
  685 Rountree Rd, Riverdale, GA, 30274


 Name Of Person(s) Or Organization(s) (Additional Insured):
 Strategic Management Partners, LLC

 125 Town Park Drive, Suite 300, Kennesaw, GA 30144
 Additional Premium:    $ INCLUDED
                                                                                                                      i
 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II — Who Is An Insured is amended to                  2. If coverage provided to the additional insured is
   include as an additional insured the person(s) or                 required by a contract or agreement, the
   organization(s) shown in the Schedule, but only                   insurance afforded to such additional insured
   with respect to liability for "bodily injury", "property          will not be broader than that which you are
   damage" or "personal and advertising injury"                      required by the contract or agreement to
   caused, in whole or in part, by you or those acting               provide for such additional insured.
   on your behalf in connection with the ownership,           B. With respect to the insurance afforded to these
   maintenance or use of that part of the premises               additional insureds, the following is added to
   leased to you and shown in the Schedule and                   Section III — Limits Of Insurance:
   subject to the following additional exclusions:
                                                                 If coverage provided to the additional insured is
   This insurance does not apply to:                             required by a contract or agreement, the most we
   1. Any "occurrence" which takes place after you               will pay on behalf of the additional insured is the
       cease to be a tenant in that premises.                    amount of insurance:
   2. Structural alterations, new construction or                1. Required by the contract or agreement; or
       demolition operations performed by or on                  2. Available under the applicable limits of
       behalf of the person(s) or organization(s)                    insurance;
       shown in the Schedule.
                                                                 whichever is less.
   However:
                                                                 This endorsement shall not increase the
   1. The insurance afforded to such additional                  applicable limits of insurance.
       insured only applies to the extent permitted by
       law; and




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POLICY NUMBER: PAVO 361279                                                 COMMERCIAL GENERAL LIABILITY
                                                                                          CG 20 18 12 19

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ADDITIONAL INSURED -
                 MORTGAGEE, ASSIGNEE OR RECEIVER
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                   SCHEDULE

       Name(s) Of Person(s) Or Organization(s)                          Designation Of Premises
 Fannie Mae, ISAOA, ATIMA                                  685 Rountree Rd, Riverdale, GA, 30274



do Colliers Mortgage LLC, ATIMA; Loan no :102205 90
South Seventh Street, Suite 4300, Minneapolis, MN
55402
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II — Who Is An Insured is amended to            C. With respect to the insurance afforded to these
   include as an additional insured the person(s) or          additional insureds, the following is added to
   organization(s) shown in the Schedule, but only            Section III — Limits Of Insurance:
   with respect to their liability as mortgagee,              If coverage provided to the additional insured is
   assignee or receiver and arising out of the                required by a contract or agreement, the most we
   ownership, maintenance or use of the premises by           will pay on behalf of the additional insured is the
   you and shown in the Schedule.                             amount of insurance:
   However:                                                   1. Required by the contract or agreement; or
   1. The insurance afforded to such additional               2. Available under the applicable limits of
       insured only applies to the extent permitted by            insurance;
       law; and
                                                              whichever is less.
   2. If coverage provided to the additional insured is
       required by a contract or agreement, the               This endorsement shall not increase the
       insurance afforded to such additional insured          applicable limits of insurance.
       will not be broader than that which you are
       required by the contract or agreement to
       provide for such additional insured.
B. This insurance does not apply to structural
   alterations, new construction and demolition
   operations performed by or for that person or
   organization.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 07 05 14

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EXCLUSION - ACCESS OR DISCLOSURE OF
     CONFIDENTIAL OR PERSONAL INFORMATION AND
    DATA-RELATED LIABILITY - LIMITED BODILY INJURY
              EXCEPTION NOT INCLUDED
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Exclusion 2.p. of Section I — Coverage A —                B. The following is added to Paragraph 2.
   Bodily Injury And Property Damage Liability is               Exclusions of Section I — Coverage B —
   replaced by the following:                                   Personal And Advertising Injury Liability:
   2. Exclusions                                                2. Exclusions
      This insurance does not apply to:                            This insurance does not apply to:
      p. Access Or Disclosure Of Confidential Or                   Access Or Disclosure Of Confidential Or
          Personal Information And Data-related                    Personal Information
          Liability                                                "Personal and advertising injury" arising out of
          Damages arising out of:                                  any access to or disclosure of any person's or
                                                                   organization's     confidential   or    personal
         (1) Any access to or disclosure of any
              person's or organization's confidential or           information, including patents, trade secrets,
              personal information, including patents,             processing methods, customer lists, financial
              trade secrets, processing methods,                   information, credit card information, health
              customer lists, financial information,               information or any other type of nonpublic
              credit      card    information,     health          information.
              information or any other type of                     This exclusion applies even if damages are
              nonpublic information; or                            claimed for notification costs, credit monitoring
         (2) The loss of, loss of use of, damage to,               expenses, forensic expenses, public relations
              corruption of, inability to access, or               expenses or any other loss, cost or expense
              inability to manipulate electronic data.             incurred by you or others arising out of any
                                                                   access to or disclosure of any person's or
          This exclusion applies even if damages are               organization's     confidential   or    personal
          claimed for notification costs, credit                   information.
          monitoring expenses, forensic expenses,
          public relations expenses or any other loss,
          cost or expense incurred by you or others
          arising out of that which is described in
          Paragraph (1) or (2) above.
          As used in this exclusion, electronic data
          means information, facts or programs
          stored as or on, created or used on, or
          transmitted to or from computer software,
          including      systems     and     applications
          software, hard or floppy disks, CD-ROMs,
          tapes, drives, cells, data processing
          devices or any other media which are used
          with electronically controlled equipment.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 09 06 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     EXCLUSION - UNMANNED AIRCRAFT
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Exclusion 2.g. Aircraft, Auto Or Watercraft under                      This Paragraph g.(2) applies even if the
   Section I — Coverage A — Bodily Injury And                             claims against any insured allege
   Property Damage Liability is replaced by the                           negligence or other wrongdoing in the
   following:                                                             supervision, hiring, employment, training
   2. Exclusions                                                          or monitoring of others by that insured, if
                                                                          the "occurrence" which caused the
       This insurance does not apply to:                                  "bodily injury" or "property damage"
       g. Aircraft, Auto Or Watercraft                                    involved the ownership, maintenance,
                                                                          use or entrustment to others of any
          (1) Unmanned Aircraft                                           aircraft (other than "unmanned aircraft"),
              "Bodily injury" or "property damage"                        "auto" or watercraft that is owned or
              arising     out     of     the  ownership,                  operated by or rented or loaned to any
              maintenance, use or entrustment to                          insured.
              others of any aircraft that is an
              "unmanned aircraft". Use includes                           This Paragraph g.(2) does not apply to:
              operation and "loading or unloading".                      (a) A watercraft while ashore on
              This Paragraph g.(1) applies even if the                        premises you own or rent;
              claims against any insured allege                          (b) A watercraft you do not own that is:
              negligence or other wrongdoing in the                           (i) Less than 26 feet long; and
              supervision, hiring, employment, training
              or monitoring of others by that insured, if                    (ii) Not being used to carry persons
              the "occurrence" which caused the                                   or property for a charge;
              "bodily injury" or "property damage"                       (c) Parking an "auto" on, or on the ways
              involved the ownership, maintenance,                            next to, premises you own or rent,
              use or entrustment to others of any                             provided the "auto" is not owned by
              aircraft that is an "unmanned aircraft".                        or rented or loaned to you or the
          (2) Aircraft (Other Than Unmanned                                   insured;
              Aircraft), Auto Or Watercraft                              (d) Liability assumed under any "insured
              "Bodily injury" or "property damage"                            contract"     for    the    ownership,
              arising     out     of     the  ownership,                      maintenance or use of aircraft or
              maintenance, use or entrustment to                              watercraft; or
              others of any aircraft (other than
              "unmanned         aircraft"),  "auto"    or
              watercraft owned or operated by or
              rented or loaned to any insured. Use
              includes operation and "loading or
              unloading".




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             (e) "Bodily injury" or "property damage"              This exclusion applies even if the claims
                 arising out of:                                   against any insured allege negligence or other
                                                                   wrongdoing in the supervision, hiring,
                 (I) The operation of machinery or                 employment, training or monitoring of others by
                     equipment that is attached to, or
                     part of, a land vehicle that would            that insured, if the offense which caused the
                     qualify under the definition of               "personal and advertising injury" involved the
                     "mobile equipment" if it were not             ownership, maintenance, use or entrustment to
                     subject to a compulsory or                    others of any aircraft that is an "unmanned
                     financial responsibility law or               aircraft".
                     other motor vehicle insurance law             This exclusion does not apply to:
                     where it is licensed or principally           a. The use of another's advertising idea in
                     garaged; or                                       your "advertisement"; or
                (ii) The operation of any of the                   b. Infringing upon another's copyright, trade
                     machinery or equipment listed in                  dress or slogan in your "advertisement".
                     Paragraph f.(2) or f.(3) of the
                     definition of "mobile equipment".      C. The following definition is added to the Definitions
                                                               section:
B. The following exclusion is added to Paragraph 2.
   Exclusions of Coverage B — Personal And                     "Unmanned aircraft" means an aircraft that is not:
   Advertising Injury Liability:                                1. Designed;
   2. Exclusions                                               2. Manufactured; or
      This insurance does not apply to:                        3. Modified after manufacture;
      Unmanned Aircraft                                        to be controlled directly by a person from within or
      "Personal and advertising injury" arising out of         on the aircraft.
      the     ownership,      maintenance,     use    or
      entrustment to others of any aircraft that is an
      "unmanned aircraft". Use includes operation
      and "loading or unloading".




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POLICY NUMBER:        PAV0361274                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 21 44 04 17

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             LIMITATION OF COVERAGE TO DESIGNATED
                PREMISES, PROJECT OR OPERATION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE

Premises:
685 Rountree Rd, Riverdale, GA, 30274



Project Or Operation:




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. If this endorsement is attached to Commercial                      (3) Prior to the policy period, no insured
   General Liability Coverage Form CG 00 01, the                           listed under Paragraph 1. of Section II —
   provisions under this Paragraph A. apply:                               Who Is An Insured and no "employee"
   1. Paragraph 1.b. under Section I — Coverage A                          authorized by you to give or receive
       — Bodily Injury And Property Damage                                 notice of an "occurrence" or claim, knew
       Liability is replaced by the following:                             that the "bodily injury" or "property
                                                                           damage" had occurred, in whole or in
       b. This insurance applies to "bodily injury" and                    part. If such a listed insured or
           "property     damage"      caused    by    an                   authorized "employee" knew, prior to the
           "occurrence" that takes place in the                            policy period, that the "bodily injury" or
           "coverage territory" only if:                                   "property damage" occurred, then any
          (1) The "bodily injury" or "property damage":                    continuation, change or resumption of
                                                                           such "bodily injury" or "property
              (a) Occurs on the premises shown in the
                   Schedule or the grounds and                             damage" during or after the policy
                                                                           period will be deemed to have been
                   structures appurtenant to those
                                                                           known prior to the policy period.
                   premises; or
                                                               2. Paragraph 1.b. under Section I — Coverage B
              (b) Arises out of the project or operation
                                                                  — Personal And Advertising Injury Liability
                   shown in the Schedule;
                                                                  is replaced by the following:
          (2) The "bodily injury" or "property damage"
                                                                  b. This insurance applies to "personal and
               occurs during the policy period; and
                                                                       advertising injury" caused by an offense
                                                                       committed in the "coverage territory" but
                                                                       only if:
                                                                      (1) The offense arises out of your business:
                                                                          (a) Performed on the premises shown in
                                                                                the Schedule; or




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              (b) In connection with the project or         B. If this endorsement is attached to Commercial
                   operation shown in the Schedule;            General Liability Coverage Form CG 00 02, the
                   and                                         provisions under this Paragraph B. apply:
          (2) The offense was committed during the             1. Paragraph 1.b. under Section I — Coverage A
               policy period.                                      — Bodily Injury And Property Damage
           However, with respect to Paragraph                      Liability is replaced by the following:
           1.b.(1)(a) of this Insuring Agreement, if the           b. This insurance applies to "bodily injury" and
           "personal and advertising injury" is caused                  "property      damage"     caused      by    an
           by:                                                          "occurrence" that takes place in the
          (1) False arrest, detention or imprisonment;                  "coverage territory" only if:
               or                                                      (1) The "bodily injury" or "property damage":
          (2) The wrongful eviction from, wrongful                         (a) Occurs on the premises shown in the
               entry into, or invasion of the right of                           Schedule or the grounds and
               private occupancy of a room, dwelling or                          structures appurtenant to those
               premises that a person occupies,                                  premises; or
               committed by or on behalf of its owner,                     (b) Arises out of the project or operation
               landlord or lessor;                                               shown in the Schedule;
           then such offense must arise out of your                    (2) The "bodily injury" or "property damage"
           business performed on the premises shown                         did not occur before the Retroactive
           in the Schedule and the offense must have                        Date, if any, shown in the Declarations
           been committed on the premises shown in                          or after the end of the policy period; and
           the Schedule or the grounds and structures
           appurtenant to those premises.                              (3) A claim for damages because of the
                                                                            "bodily injury" or "property damage" is
   3. Paragraph 1.a. under Section I — Coverage C                           first made against any insured, in
      — Medical Payments is replaced by the                                 accordance with Paragraph 1.c. of this
      following:                                                            Insuring Agreement, during the policy
      a. We will pay medical expenses as described                          period or any Extended Reporting
           below for "bodily injury" caused by an                           Period we provide under Section V —
           accident that takes place in the "coverage                       Extended Reporting Periods.
           territory" if the "bodily injury":                  2. Paragraph 1.b. under Section I — Coverage B
          (1) Occurs on the premises shown in the                  — Personal And Advertising Injury Liability
               Schedule or the grounds and structures              is replaced by the following:
               appurtenant to those premises; or                   b. This insurance applies to "personal and
          (2) Arises out of the project or operation                    advertising injury" caused by an offense
               shown in the Schedule;                                   committed in the "coverage territory" but
           provided that:                                               only if:
              (a) The accident takes place during the                  (1) The offense arises out of your business:
                   policy period;                                          (a) Performed on the premises shown in
              (b) The expenses are incurred and                                  the Schedule; or
                   reported to us within one year of the                   (b) In connection with the project or
                   date of the accident; and                                     operation shown in the Schedule:
              (c) The injured person submits to                        (2) The offense was not committed before
                   examination, at our expense, by                          the Retroactive Date, if any, shown in
                   physicians of our choice as often as                     the Declarations or after the end of the
                   we reasonably require.                                   policy period; and




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        (3) A claim for damages because of the                3. Paragraph 1.a. under Section I — Coverage C
             "personal and advertising injury" is first          — Medical Payments is replaced by the
             made     against      any   insured,    in          following:
             accordance with Paragraph 1.c. of this              a. We will pay medical expenses as described
             Insuring Agreement, during the policy                    below for "bodily injury" caused by an
             period or any Extended Reporting                         accident that takes place in the "coverage
             Period we provide under Section V —                      territory" if the "bodily injury":
             Extended Reporting Periods.
                                                                     (1) Occurs on the premises shown in the
         However, with respect to Paragraph                               Schedule or the grounds and structures
         1.b.(1)(a) of this Insuring Agreement, if the                    appurtenant to those premises; or
         "personal and advertising injury" is caused
         by:                                                         (2) Arises out of the project or operation
                                                                          shown in the Schedule;
        (1) False arrest, detention or imprisonment;
            Or                                                        provided that:
        (2) The wrongful eviction from, wrongful                         (a) The accident takes place during the
             entry into, or invasion of the right of                          policy period;
             private occupancy of a room, dwelling or                    (b) The expenses are incurred and
             premises that a person occupies,                                 reported to us within one year of the
             committed by or on behalf of its owner,                          date of the accident; and
             landlord or lessor;                                         (c) The injured person submits to
         then such offense must arise out of your                             examination, at our expense, by
         business performed on the premises shown                             physicians of our choice as often as
         in the Schedule and the offense must have                            we reasonably require.
         been committed on the premises shown in
         the Schedule or the grounds and structures
         appurtenant to those premises.




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                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 21 47 12 07

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,      B. The following exclusion is added to Paragraph 2.,
    Exclusions of Section I — Coverage A — Bodily             Exclusions of Section I — Coverage B              Per-
    Injury And Property Damage Liability:                     sonal And Advertising Injury Liability:
    This insurance does not apply to:                         This insurance does not apply to:
    "Bodily injury" to:                                       "Personal and advertising injury" to:
   (1) A person arising out of any:                          (1) A person arising out of any:
       (a) Refusal to employ that person;                        (a) Refusal to employ that person;
       (b) Termination of that person's employment:             (b) Termination of that person's employment:
         Or                                                           or
      (c) Employment-related practices, policies,                (c) Employment-related practices, policies,
           acts or omissions, such as coercion, demo-                 acts or omissions, such as coercion, demo-
           tion, evaluation, reassignment, discipline,                tion, evaluation, reassignment, discipline,
           defamation, harassment, humiliation, dis-                  defamation, harassment, humiliation, dis-
           crimination or malicious prosecution di-                   crimination or malicious prosecution di-
           rected at that person; or                                  rected at that person; or
  (2) The spouse, child, parent, brother or sister of        (2) The spouse, child, parent, brother or sister of
       that person as a consequence of "bodily injury"            that person as a consequence of "personal and
       to that person at whom any of the employment-              advertising injury" to that person at whom any
       related practices described in Paragraphs (a),             of the employment-related practices described
       (b), or (c) above is directed.                             in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                    This exclusion applies:
  (1) Whether the injury-causing event described in          (1) Whether the injury-causing event described in
       Paragraphs (a), (b) or (c) above occurs before             Paragraphs (a), (b) or (c) above occurs before
       employment, during employment or after em-                 employment, during employment or after em-
       ployment of that person;                                   ployment of that person;
  (2) Whether the insured may be liable as an em-           (2) Whether the insured may be liable as an em-
       ployer or in any other capacity; and                       ployer or in any other capacity; and
  (3) To any obligation to share damages with or            (3) To any obligation to share damages with or
       repay someone else who must pay damages                    repay someone else who must pay damages
       because of the injury.                                     because of the injury.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21 55 09 99

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        TOTAL POLLUTION EXCLUSION
                       WITH A HOSTILE FIRE EXCEPTION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

Exclusion f. under Paragraph 2., Exclusions of Sec-               (b) At any premises, site or location on which
tion 1— Coverage A — Bodily Injury And Property                       any insured or any contractors or subcon-
Damage Liability is replaced by the following:                        tractors working directly or indirectly on any
This insurance does not apply to:                                     insured's behalf are performing operations
                                                                      to test for, monitor, clean up, remove,
 f. Pollution                                                         contain, treat, detoxify, neutralize or in any
   (1) "Bodily injury" or "property damage" which                     way respond to, or assess the effects of,
       would not have occurred in whole or part but                   "pollutants".
       for the actual, alleged or threatened discharge,       (2) Any loss, cost or expense arising out of any:
       dispersal, seepage, migration, release or es-
       cape of "pollutants" at any time.                          (a) Request, demand, order or statutory or
                                                                      regulatory requirement that any insured or
       This exclusion does not apply to "bodily injury"               others test for, monitor, clean up, remove,
       or "property damage" arising out of heat,                      contain, treat, detoxify or neutralize, or in
       smoke or fumes from a "hostile fire" unless                    any way respond to, or assess the effects
       that "hostile fire" occurred or originated:                    of "pollutants"; or
      (a) At any premises, site or location which is or          (b) Claim or suit by or on behalf of a govern-
           was at any time used by or for any insured                 mental authority for damages because of
           or others for the handling, storage, dis-                  testing for, monitoring, cleaning up, remov-
           posal, processing or treatment of waste; or                ing, containing, treating, detoxifying or
                                                                      neutralizing, or in any way responding to, or
                                                                      assessing the effects of, "pollutants".




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21 32 05 09

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  COMMUNICABLE DISEASE EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.        B. The following exclusion is added to Paragraph 2.
   Exclusions of Section I — Coverage A — Bodily              Exclusions of Section I — Coverage B — Per-
   Injury And Property Damage Liability:                      sonal And Advertising Injury Liability:
   2. Exclusions                                              2. Exclusions
       This insurance does not apply to:                         This insurance does not apply to:
       Communicable Disease                                      Communicable Disease
       "Bodily injury" or "property damage" arising out          "Personal and advertising injury" arising out of
       of the actual or alleged transmission of a com-           the actual or alleged transmission of a commu-
       municable disease.                                        nicable disease.
       This exclusion applies even if the claims                 This exclusion applies even if the claims
       against any insured allege negligence or other            against any insured allege negligence or other
       wrongdoing in the:                                        wrongdoing in the:
       a. Supervising, hiring, employing, training or            a. Supervising, hiring, employing, training or
           monitoring of others that may be infected                 monitoring of others that may be infected
           with and spread a communicable disease;                  with and spread a communicable disease;
       b. Testing for a communicable disease;                    b. Testing for a communicable disease;
       c. Failure to prevent the spread of the dis-              c. Failure to prevent the spread of the dis-
           ease; or                                                 ease; or
       d. Failure to report the disease to authorities.          d. Failure to report the disease to authorities.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 67 12 04

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         FUNGI OR BACTERIA EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.          B. The following exclusion is added to Paragraph 2.
   Exclusions of Section I — Coverage A — Bodily                Exclusions of Section I — Coverage B — Per-
   Injury And Property Damage Liability:                        sonal And Advertising Injury Liability:
   2. Exclusions                                                2. Exclusions
       This insurance does not apply to:                           This insurance does not apply to:
       Fungi Or Bacteria                                            Fungi Or Bacteria
       a. "Bodily injury" or "property damage" which                a. "Personal and advertising injury" which
           would not have occurred, in whole or in part,               would not have taken place, in whole or in
           but for the actual, alleged or threatened in-               part, but for the actual, alleged or threat-
           halation of, ingestion of, contact with, expo-              ened inhalation of, ingestion of, contact
           sure to, existence of, or presence of, any                  with, exposure to, existence of, or presence
           "fungi" or bacteria on or within a building or              of any "fungi" or bacteria on or within a
           structure, including its contents, regardless               building or structure, including its contents,
           of whether any other cause, event, material                 regardless of whether any other cause,
           or product contributed concurrently or in any               event, material or product contributed con-
           sequence to such injury or damage.                          currently or in any sequence to such injury.
       b. Any loss, cost or expenses arising out of the            b. Any loss, cost or expense arising out of the
           abating, testing for, monitoring, cleaning up,              abating, testing for, monitoring, cleaning up,
           removing, containing, treating, detoxifying,                removing, containing, treating, detoxifying,
           neutralizing, remediating or disposing of, or               neutralizing, remediating or disposing of, or
           in any way responding to, or assessing the                  in any way responding to, or assessing the
           effects of, "fungi" or bacteria, by any insured             effects of, "fungi" or bacteria, by any insured
           or by any other person or entity.                           or by any other person or entity.
       This exclusion does not apply to any "fungi" or       C. The following definition is added to the Definitions
       bacteria that are, are on, or are contained in, a        Section:
       good or product intended for bodily consump-             "Fungi" means any type or form of fungus, includ-
       tion.                                                    ing mold or mildew and any mycotoxins, spores,
                                                                scents or byproducts produced or released by
                                                                fungi.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 70 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

A. If aggregate insured losses attributable to terrorist       2. The act is a violent act or an act that is
   acts certified under the federal Terrorism Risk                 dangerous to human life, property or
   Insurance Act exceed $100 billion in a calendar                 infrastructure and is committed by an individual
   year and we have met our insurer deductible                     or individuals as part of an effort to coerce the
   under the Terrorism Risk Insurance Act, we shall                civilian population of the United States or to
   not be liable for the payment of any portion of the             influence the policy or affect the conduct of the
   amount of such losses that exceeds $100 billion,                United States Government by coercion.
   and in such case insured losses up to that amount        B. The terms and limitations of any terrorism
   are subject to pro rata allocation in accordance            exclusion, or the inapplicability or omission of a
   with procedures established by the Secretary of             terrorism exclusion, do not serve to create
   the Treasury.                                               coverage for injury or damage that is otherwise
   "Certified act of terrorism" means an act that is           excluded under this Coverage Part.
   certified by the Secretary of the Treasury, in
   accordance with the provisions of the federal
   Terrorism Risk Insurance Act, to be an act of
   terrorism pursuant to such Act. The criteria
   contained in the Terrorism Risk Insurance Act for
   a "certified act of terrorism" include the following:
   1. The act resulted in insured losses in excess of
       $5 million in the aggregate, attributable to all
       types of insurance subject to the Terrorism
       Risk Insurance Act: and




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                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 21 96 03 05

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           SILICA OR SILICA-RELATED DUST EXCLUSION

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. The following exclusion is added to Paragraph 2.,          B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I — Coverage A — Bodily                 Exclusions of Section 1 — Coverage B — Per-
   Injury And Property Damage Liability:                         sonal And Advertising Injury Liability:
   2. Exclusions                                                 2. Exclusions
       This insurance does not apply to:                             This insurance does not apply to:
       Silica Or Silica -Related Dust                                Silica Or Silica -Related Dust
       a. "Bodily injury" arising, in whole or in part, out          a. "Personal and advertising injury" arising, in
           of the actual, alleged, threatened or sus-                    whole or in part, out of the actual, alleged,
           pected inhalation of, or ingestion of, "silica"               threatened or suspected inhalation of, in-
           or "silica-related dust".                                     gestion of, contact with, exposure to, exis-
       b. "Property damage" arising, in whole or in                      tence of, or presence of, "silica" or "silica-
           part, out of the actual, alleged, threatened                  related dust".
           or suspected contact with, exposure to, ex-               b. Any loss, cost or expense arising, in whole
           istence of, or presence of, "silica" or "silica-              or in part, out of the abating, testing for,
           related dust".                                                monitoring, cleaning up, removing, contain-
       c. Any loss, cost or expense arising, in whole                    ing, treating, detoxifying, neutralizing, reme-
           or in part, out of the abating, testing for,                  diating or disposing of, or in any way re-
           monitoring, cleaning up, removing, contain-                   sponding to or assessing the effects of,
           ing, treating, detoxifying, neutralizing, reme-               "silica" or "silica-related dust", by any in-
           diating or disposing of, or in any way re-                    sured or by any other person or entity.
           sponding to or assessing the effects of,           C. The following definitions are added to the Defini-
           "silica" or "silica -related dust", by any in-        tions Section:
           sured or by any other person or entity                1. "Silica" means silicon dioxide (occurring in
                                                                     crystalline, amorphous and impure forms), sil-
                                                                     ica particles, silica dust or silica compounds.
                                                                 2. "Silica -related dust" means a mixture or combi-
                                                                     nation of silica and other dust or particles.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 24 26 04 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      AMENDMENT OF INSURED CONTRACT DEFINITION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

The definition of "insured contract" in the Definitions             Paragraph f. does not include that part of any
section is replaced by the following:                               contract or agreement:
"Insured contract" means:                                          (1) That indemnifies a railroad for "bodily injury"
    a. A contract for a lease of premises. However,                     or "property damage" arising out of
       that portion of the contract for a lease of                      construction or demolition operations, within
       premises that indemnifies any person or                          50 feet of any railroad property and
       organization for damage by fire to premises                      affecting any railroad bridge or trestle,
       while rented to you or temporarily occupied by                   tracks, road-beds, tunnel, underpass or
       you with permission of the owner is not an                       crossing;
       "insured contract";                                         (2) That indemnifies an architect, engineer or
    b. A sidetrack agreement;                                           surveyor for injury or damage arising out of:
    c. Any easement or license agreement, except in                    (a) Preparing, approving, or failing to
       connection with construction or demolition                           prepare or approve, maps, shop
       operations on or within 50 feet of a railroad;                       drawings, opinions, reports, surveys,
                                                                            field orders, change orders or drawings
    d. An obligation, as required by ordinance, to                          and specifications; or
       indemnify a municipality, except in connection
       with work for a municipality;                                  (b) Giving directions or instructions, or
                                                                            failing to give them, if that is the primary
    e. An elevator maintenance agreement;                                   cause of the injury or damage; or
    f. That part of any other contract or agreement                (3) Under which the insured, if an architect,
       pertaining to your business (including an                        engineer or surveyor, assumes liability for
       indemnification of a municipality in connection                  art injury or damage arising out of the
       with work performed for a municipality) under                    insured's rendering or failure to render
       which you assume the tort liability of another                   professional services, including those listed
       party to pay for "bodily injury" or "property                    in (2) above and supervisory, inspection,
       damage" to a third person or organization,                       architectural or engineering activities.
       provided the "bodily injury" or "property
       damage" is caused, in whole or in part, by you
       or by those acting on your behalf. However,
       such part of a contract or agreement shall only
       be considered an "insured contract" to the
       extent your assumption of the tort liability is
       permitted by law. Tort liability means a liability
       that would be imposed by law in the absence
       of any contract or agreement.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       TOTAL EXCLUSION - PROFESSIONAL SERVICES

This endorsement modifies insurance provided under the following:

          COMMERCIAL GENERAL LIABILITY COVERAGE PART

I.    The following is added to Paragraph 2. Exclusions of SECTION 1— COVERAGES, COVERAGE A —
      BODILY INJURY AND PROPERTY DAMAGE and to Paragraph 2. Exclusions of SECTION I —
      COVERAGE B — PERSONAL AND ADVERTISING INJURY:

      This insurance does not apply to:
      Professional Services
      "Bodily injury", "property damage" or "personal and advertising injury" arising out of the rendering of,
      or failure to render, "professional services".

II. The following is added to SECTION V — DEFINITIONS:

      "Professional services" means an occupation or business engaged in by the insured, involving or
      requiring specialized education, and knowledge, and includes associated clerical and administrative
      functions.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         SWIMMING POOL CONDITIONAL EXCLUSION

This endorsement modifies coverage provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following is added to Paragraph 2. Exclusions of SECTION I — COVERAGES, COVERAGE A-
BODILY INJURY AND PROPERTY DAMAGE:

This insurance does not apply to:

"Bodily injury", "property damage", "personal and advertising injury" or medical payments arising out of,
caused by or attributable to, whether in whole or in part, the failure to:
1.    Comply with any applicable federal, state or local legal or regulatory safety requirements; or
2.    Maintain any required safety device, including but not limited to fencing, gates, doors, and drains, in
      proper working order.




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  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               ANTI -STACKING ENDORSEMENT

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART

It is agreed that under SECTION III — Limits of Insurance, the following is added:

If this Coverage Form and any other Coverage Form or policy issued to you by us or any company
affiliated with us applies to the same "occurrence," the maximum limit of Insurance under all the Coverage
Forms or policies shall not exceed the highest applicable Limit of Insurance under any one Coverage
Form or policy.




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  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               NONCOOPERATION WITH AUDIT
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE FORM

The following is added to 5. Premium Audit of Section IV— Commercial General Liability Conditions:

Notwithstanding any policy provision to the contrary, failure of the first Named Insured to:
1. Fully cooperate with a premium audit at the close of a premium audit period: or
2. Pay additional premium generated by a premium audit, will result in:
   a. Cancellation of the current term policy and any renewal policy we issue, as applicable; and
   b. Our retention of any unearned premium.




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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        EXCLUSION                    CYBER AND DATA LIABILITY

This endorsement modifies insurance provided under the following:
   COMMERCIAL GENERAL LIABILITY COVERAGE FORM


A. The following replaces Paragraph 2.p. Electronic Data of SECTION I — COVERAGE A —
   BODILY INJURY AND PROPERTY DAMAGE LIABILITY and is added to Paragraph 2.
   Exclusions of SECTION I — COVERAGE B — PERSONAL AND ADVERTISING INJURY
   LIABILITY:
   This insurance does not apply to:
   Cyber and Data Liability
       Damages caused by, arising out of, attributable to, or in any way resulting from, directly or
       indirectly, in whole or part, by the misuse of any electronic device, website, portal,
       application, platform, internet or intranet, including but not limited to:
       (1) Unauthorized access to or use of any computer system (including electronic data);
       (2) Malicious code, virus or any other harmful code that is directed at, enacted upon or
           introduced into any computer system (including electronic data) and is designed to
           access, alter, corrupt, damage, delete, destroy, disrupt, encrypt, exploit, use or
           prevent or restrict access to or the use of any part of any computer system (including
           electronic data) or otherwise disrupt its normal functioning or operation;
       (3) The posting or hosting of data or other information;
       (4) The acquisition, disclosure or amalgamation of electronic personal information or
           personally identifiable information;
       (5) Any loss or damage to any computer system, including network equipment and
           programing, hardware or software;
       (6) The function or malfunction of any electronic device, website, portal, application,
           platform, internet, or Intranet;
       (7) The loss of loss of use of, damage to, corruption of, inability to access or inability to
           manipulate electronic data;
       (8) Any loss of access or denial of access to any electronic device, website, portal,
           application, platform, internet or intranet; or
       (9) Any electronic device, website, portal, application, platform, internet, or Intranet piracy,
           hacking or theft.
       This exclusion applies even if damages are claimed for notification costs, credit monitoring
       expenses, forensic expenses, public relations expenses or any other loss, cost or expense
       incurred by you or others arising out of that which is described above.




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        EXCLUSION — FIREWORKS, EXPLOSIVES, PYROTECHNIC DEVICES OR
                           INCENDIARY DEVICES

This endorsement modifies insurance provided under the following:
     COMMERCIAL GENERAL LIABILITY COVERAGE FORM

The following is added to Paragraph 2. Exclusions of SECTION I- COVERAGES, COVERAGE A - BODILY
INJURY AND PROPERTY DAMAGE LIABILITY:

This insurance does not apply to "bodily injury" or "property damage" arising out of fireworks, explosives,
pyrotechnic devices or incendiary devices.




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  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         AMUSEMENTS OR ACTIVITIES EXCLUSION

This endorsement modifies insurance provided under the following

    COMMERCIAL GENERAL LIABILITY COVERAGE FORM


The following is added to 2. Exclusions of SECTION I - COVERAGES, COVERAGE A - BODILY
INJURY AND PROPERTY DAMAGE LIABILITY:


                                              SCHEDULE
Amusement or Activity:




This insurance does not apply to "bodily injury" to any person arising out of•

   a. Boats, submarines or any other floating objects;
   b. Trains or miniature automobile rides;
   C. Live animal rides or shows;
   d. Mechanical or other devices or equipment providing rides or activities for adults or children,
      including bungy jumping and ziplining; or
   e. Any amusement or activity shown in the Schedule above,

This exclusion applies even if the claims against any insured allege negligence or other
wrongdoing in the supervision, hiring, employment, training or monitoring of others by that insured.




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                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 40 14 12 19

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                  CANNABIS EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. The following exclusion is added:                       B. The exclusion in Paragraph A. does not apply to
   This insurance does not apply to:                          -personal and advertising injury" arising out of the
                                                              following offenses:
   1. "Bodily injury", "property damage" or "personal
      and advertising injury" arising out of:                  1. False arrest, detention or imprisonment; or
      a. The design, cultivation, manufacture,                2. The wrongful eviction from, wrongful entry into,
          storage, processing, packaging, handling,                or invasion of the right or private occupancy of
          testing,    distribution,   sale,   serving,             a room, dwelling or premises that a person
          furnishing, possession or disposal of                    occupies, committed by or on behalf of its
          "cannabis"; or                                           owner, landlord or lessor.
      b. The actual,         alleged, threatened or        C. The following definition is added to the Definitions
          suspected inhalation, ingestion, absorption         section:
          or consumption of, contact with, exposure           "Cannabis":
          to, existence of, or presence of "cannabis";         1. Means:
          Or
                                                                  Any good or product that consists of or
   2. "Property damage" to "cannabis".                             contains any amount of Tetrahydrocannabinol
   This exclusion applies even if the claims against               (THC) or any other cannabinoid, regardless of
   any insured allege negligence or other wrongdoing              whether any such THC or cannabinoid is
   in the supervision, hiring, employment, training or             natural or synthetic.
   monitoring of others by that insured, if the               2. Paragraph C.1. above includes, but is not
   "occurrence" which caused the "bodily injury" or                limited to, any of the following containing such
   "property damage", or the offense which caused                 THC or cannabinoid:
   the "personal and advertising injury", involved that
   which is described in Paragraph A.1. or A.2.                    a. Any plant of the genus Cannabis L., or any
   above.                                                              part thereof, such as seeds, stems, flowers,
                                                                       stalks and roots; or
   However, Paragraph A.1.b. does not apply to
   "bodily injury" or "property damage" arising out of             b. Any      compound,       byproduct,    extract,
   the actual, alleged, threatened or suspected                        derivative, mixture or combination, such as:
   inhalation, ingestion, absorption or consumption                   (1) Resin, oil or wax;
   of, or contact with, "cannabis" by:
                                                                      (2) Hash or hemp; or
          (1) An insured; or
                                                                      (3) Infused liquid or edible cannabis;
          (2) Any other person for whom you are                        whether or not derived from any plant or
              legally responsible                                      part of any plant set forth in Paragraph
   but only if the "bodily injury" or "property damage"                C.2.a.
   does not arise out of your selling, serving or
   furnishing of "cannabis" to any person described
   above.




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                                                                         IL 00 03 09 08

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART

The following is added:
The premium shown in the Declarations was com-
puted based on rates in effect at the time the policy
was issued. On each renewal, continuation, or anni-
versary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then in effect.




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POLICY NUMBER:       PAV0361274
                                                                                                  IL 09 85 12 20

     THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
     RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
    INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
   CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

          DISCLOSURE PURSUANT TO TERRORISM RISK
                      INSURANCE ACT
                                                  SCHEDULE

                                            SCHEDULE —PART I
 Terrorism Premium (Certified Acts) $ 471.00
 This premium is the total Certified Acts premium attributable to the following Coverage Part(s),
 Coverage Form(s) and/or Policy(ies):
 Commercial General Liability Coverage




 Additional information, if any, concerning the terrorism premium:




                                             SCHEDULE — PART II
 Federal share of terrorism losses        80 %
 (Refer to Paragraph B. in this endorsement.)
 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




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A. Disclosure Of Premium                                   C. Cap On Insurer Participation In Payment Of
   In accordance with the federal Terrorism Risk              Terrorism Losses
   Insurance Act, we are required to provide you with         If aggregate insured losses attributable to terrorist
   a notice disclosing the portion of your premium, if        acts certified under the Terrorism Risk Insurance
   any, attributable to coverage for terrorist acts           Act exceed $100 billion in a calendar year and we
   certified under the Terrorism Risk Insurance Act.          have met our insurer deductible under the
   The portion of your premium attributable to such           Terrorism Risk Insurance Act, we shall not be
   coverage is shown in the Schedule of this                  liable for the payment of any portion of the amount
   endorsement or in the policy Declarations.                 of such losses that exceeds $100 billion, and in
B. Disclosure Of Federal Participation In Payment             such case insured losses up to that amount are
   Of Terrorism Losses                                        subject to pro rata allocation in accordance with
                                                              procedures established by the Secretary of the
   The United States Government, Department of the            Treasury.
   Treasury, will pay a share of terrorism losses
   insured under the federal program. The federal
   share equals a percentage (as shown in Part ll of
   the Schedule of this endorsement or in the policy
   Declarations) of that portion of the amount of such
   insured losses that exceeds the applicable insurer
   retention. However, if aggregate insured losses
   attributable to terrorist acts certified under the
   Terrorism Risk Insurance Act exceed $100 billion
   in a calendar year, the Treasury shall not make
   any payment for any portion of the amount of such
   losses that exceeds $100 billion.




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